Case 4:25-cv-04075-HSG   Document 37-6   Filed 05/28/25   Page 1 of 22




                 EXHIBIT E
                Case 4:25-cv-04075-HSG                              Document 37-6                  Filed 05/28/25             Page 2 of 22


                                                        OFFICE OF FOREIGN ASSETS CONTROL
                                                  Non-SDN Chinese Military-Industrial Complex Companies List
                                                                                        December 16, 2021




Non-SDN Chinese Military-Industrial Complex               a.k.a. "AECC"), 5 Landianchang South Road          Date (CMIC) 03 Jun 2021; Unified Social Credit
Companies List (NS-CMIC List).                            Haidian District, Beijing 100097, China; Target    Code (USCC) 913300001429112055 (China)
                                                          Type State-Owned Enterprise; Effective Date        [CMIC-EO13959].
This publication by the Department o f the                (CMIC) 02 Aug 2021; Purchase/Sales For            AEROSPACE COMMUNICATIONS HOLDINGS
Treasury’s Office of Foreign Assets Control               Divestment Date (CMIC) 03 Jun 2022; Listing        COMPANY LIMITED (a.k.a. AEROCOM; a.k.a.
(OFAC) is designed as a reference tool that               Date (CMIC) 03 Jun 2021; Unified Social Credit     AEROSPACE COMMUNICATIONS HOLDINGS
identifies persons subject to certain sanctions           Code (USCC) 91110000MA005UCQ5P (China)             CO., LTD.; a.k.a. AEROSPACE
that have been imposed under statutory or other           [CMIC-EO13959].                                    COMMUNICATIONS HOLDINGS GROUP
authorities, including certain sanctions described       AEROCOM (a.k.a. AEROSPACE                           COMPANY LIMITED), Block 1, Aerospace
in Executive Order of June 3, 2021, "Addressing           COMMUNICATIONS HOLDINGS CO., LTD.;                 Communications Mansion, 138, Jiefang Road,
the Threat from Securities Investments that               f.k.a. AEROSPACE COMMUNICATIONS                    Hangzhou 310009, China; Equity Ticker 600677
Finance Certain Companies of the People's                 HOLDINGS COMPANY LIMITED; a.k.a.                   CN; Issuer Name Aerospace Communications
Republic of China."                                       AEROSPACE COMMUNICATIONS HOLDINGS                  Holdings Co., Ltd.; ISIN CNE000000BS6;
The latest changes to the NS -CMIC List may               GROUP COMPANY LIMITED), Block 1,                   Target Type Public Company; Effective Date
appear here prior to their publica tion in the            Aerospace Communications Mansion, 138,             (CMIC) 02 Aug 2021; Purchase/Sales For
Federal Register, and users of this list can rely o n     Jiefang Road, Hangzhou 310009, China; Equity       Divestment Date (CMIC) 03 Jun 2022; Listing
changes indicated in this document. Such                  Ticker 600677 CN; Issuer Name Aerospace            Date (CMIC) 03 Jun 2021; Unified Social Credit
changes reflect official actions of OFAC and will         Communications Holdings Co., Ltd.; ISIN            Code (USCC) 913300001429112055 (China)
be published as soon as practicable in the                CNE000000BS6; Target Type Public Company;          [CMIC-EO13959].
Federal Register. Users are advised to chec k the         Effective Date (CMIC) 02 Aug 2021;                AEROSPACE COMMUNICATIONS HOLDINGS
Federal Register and this electronic publication          Purchase/Sales For Divestment Date (CMIC) 03       GROUP COMPANY LIMITED (a.k.a.
routinely for additional names or other changes to        Jun 2022; Listing Date (CMIC) 03 Jun 2021;         AEROCOM; a.k.a. AEROSPACE
the NS-CMIC List.                                         Unified Social Credit Code (USCC)                  COMMUNICATIONS HOLDINGS CO., LTD.;
                                                          913300001429112055 (China) [CMIC-                  f.k.a. AEROSPACE COMMUNICATIONS
Information that appears on the NS -CMIC List will        EO13959].                                          HOLDINGS COMPANY LIMITED), Block 1,
be included in the data formats associated with          AEROSPACE CH UAV CO., LTD (f.k.a.                   Aerospace Communications Mansion, 138,
the Consolidated Sanctions List.                          ZHEJIANG NANYANG TECHNOLOGY                        Jiefang Road, Hangzhou 310009, China; Equity
                                                          COMPANY LIMITED), Development Zone, 388,           Ticker 600677 CN; Issuer Name Aerospace
The following note applies to the names listed in         Kai Fa Avenue, Taizhou 318000, China; Equity       Communications Holdings Co., Ltd.; ISIN
this section of the list:                                 Ticker 002389 CN; Issuer Name Aerospace CH         CNE000000BS6; Target Type Public Company;
                                                          UAV Co Ltd; ISIN CNE100000N20; Target Type         Effective Date (CMIC) 02 Aug 2021;
The equity tickers provided in this document are          Public Company; Effective Date (CMIC) 02 Aug       Purchase/Sales For Divestment Date (CMIC) 03
followed by the International Organi zation for           2021; Purchase/Sales For Divestment Date           Jun 2022; Listing Date (CMIC) 03 Jun 2021;
Standardization (ISO) 3166 Alpha-2 code for the           (CMIC) 03 Jun 2022; Listing Date (CMIC) 03         Unified Social Credit Code (USCC)
country in which the equity ticker is regi stered.        Jun 2021; Unified Social Credit Code (USCC)        913300001429112055 (China) [CMIC-
                                                          91330000734507783B (China) [CMIC-                  EO13959].
AERO ENGINE CORP OF CHINA (a.k.a. AERO                    EO13959].                                         AEROSUN (a.k.a. AEROSUN CORP.; a.k.a.
 ENGINE CORPORATION OF CHINA; a.k.a.
                                                         AEROSPACE COMMUNICATIONS HOLDINGS                   AEROSUN CORPORATION), Jiangning
 CHINA AVIATION ENGINE GROUP CO., LTD;                    CO., LTD. (a.k.a. AEROCOM; f.k.a.                  Economic Zone, 188, Tianyuan Zhong Road,
 a.k.a. "AECC"), 5 Landianchang South Road
                                                          AEROSPACE COMMUNICATIONS HOLDINGS                  Nanjing 211100, China; Equity Ticker 600501
 Haidian District, Beijing 100097, China; Target
                                                          COMPANY LIMITED; a.k.a. AEROSPACE                  CN; Issuer Name Aerosun Corporation; ISIN
 Type State-Owned Enterprise; Effective Date              COMMUNICATIONS HOLDINGS GROUP                      CNE000001857; Target Type Public Company;
 (CMIC) 02 Aug 2021; Purchase/Sales For
                                                          COMPANY LIMITED), Block 1, Aerospace               Effective Date (CMIC) 02 Aug 2021;
 Divestment Date (CMIC) 03 Jun 2022; Listing
                                                          Communications Mansion, 138, Jiefang Road,         Purchase/Sales For Divestment Date (CMIC) 03
 Date (CMIC) 03 Jun 2021; Unified Social Credit           Hangzhou 310009, China; Equity Ticker 600677       Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Code (USCC) 91110000MA005UCQ5P (China)
                                                          CN; Issuer Name Aerospace Communications           Unified Social Credit Code (USCC)
 [CMIC-EO13959].                                          Holdings Co., Ltd.; ISIN CNE000000BS6;             91320000714091899R (China) [CMIC-
AERO ENGINE CORPORATION OF CHINA                          Target Type Public Company; Effective Date         EO13959].
 (a.k.a. AERO ENGINE CORP OF CHINA; a.k.a.
                                                          (CMIC) 02 Aug 2021; Purchase/Sales For            AEROSUN CORP. (a.k.a. AEROSUN; a.k.a.
 CHINA AVIATION ENGINE GROUP CO., LTD;                    Divestment Date (CMIC) 03 Jun 2022; Listing        AEROSUN CORPORATION), Jiangning
               Case 4:25-cv-04075-HSG                      Document 37-6                 Filed 05/28/25                   Page 3 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                  Non-SDN Chinese Military-Industrial Complex Companies List




 Economic Zone, 188, Tianyuan Zhong Road,        Purchase/Sales For Divestment Date (CMIC) 03         AVIATION INDUSTRY CORPORATION OF
 Nanjing 211100, China; Equity Ticker 600501     Jun 2022; Listing Date (CMIC) 03 Jun 2021;           CHINA, LTD.; a.k.a. "AVIC"), Building 19
 CN; Issuer Name Aerosun Corporation; ISIN       Unified Social Credit Code (USCC)                    Compound A5 Shuguang Xili Chaoyang District,
 CNE000001857; Target Type Public Company;       9134000070503581XA (China) [CMIC-                    Beijing 100028, China; Issuer Name Aviation
 Effective Date (CMIC) 02 Aug 2021;              EO13959].                                            Industry Corporation of China, Ltd; ISIN
 Purchase/Sales For Divestment Date (CMIC) 03   ANHUI GREATWALL MILITARY INDUSTRY                     CND10001WSL0; alt. ISIN CND10002HNP1;
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;      COMPANY LIMITED (a.k.a. ANHUI GREAT                  alt. ISIN CND10002DPC3; Target Type State-
 Unified Social Credit Code (USCC)               WALL MILITARY INDUSTRY CO., LTD; a.k.a.              Owned Enterprise; Effective Date (CMIC) 02
 91320000714091899R (China) [CMIC-               ANHUI GREATWALL MILITARY INDUSTRY                    Aug 2021; Purchase/Sales For Divestment Date
 EO13959].                                       CO., LTD.; a.k.a. GREATWALL MILITARY;                (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
AEROSUN CORPORATION (a.k.a. AEROSUN;             a.k.a. GREATWALL MILITARY INDUSTRY),                 Jun 2021; Unified Social Credit Code (USCC)
 a.k.a. AEROSUN CORP.), Jiangning Economic       No. 99 Taoyuan Road, Economic Development            91110000710935732K (China) [CMIC-
 Zone, 188, Tianyuan Zhong Road, Nanjing         Zone, Hefei, China; Economic And                     EO13959].
 211100, China; Equity Ticker 600501 CN;         Technological Development Zone, 99 Hezhang          AVIC AIRCRAFT CO., LTD. (a.k.a. AVIC XIAN
 Issuer Name Aerosun Corporation; ISIN           Road, Hefei 230001, China; Equity Ticker             AIRCRAFT INDUSTRY GROUP CO LTD; a.k.a.
 CNE000001857; Target Type Public Company;       601606 CN; Issuer Name Anhui Greatwall               AVIC XI'AN AIRCRAFT INDUSTRY GROUP
 Effective Date (CMIC) 02 Aug 2021;              Military Industry Co., Ltd; ISIN CNE1000036L1;       COMPANY LTD.; a.k.a. XI'AN AIRCRAFT
 Purchase/Sales For Divestment Date (CMIC) 03    Target Type Public Company; Effective Date           INDUSTRIAL CORP.; a.k.a. XI'AN AIRCRAFT
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;      (CMIC) 02 Aug 2021; Purchase/Sales For               INDUSTRY GROUP CO LTD), No. 1, Xifei
 Unified Social Credit Code (USCC)               Divestment Date (CMIC) 03 Jun 2022; Listing          Avenue, Yanliang District, Xi'an, Shaanxi,
 91320000714091899R (China) [CMIC-               Date (CMIC) 03 Jun 2021; Unified Social Credit       China; Equity Ticker 000768 CN; Issuer Name
 EO13959].                                       Code (USCC) 9134000070503581XA (China)               AVIC Aircraft Co., Ltd.; ISIN CNE000000RF9;
ANHUI GREAT WALL MILITARY INDUSTRY               [CMIC-EO13959].                                      Target Type Public Company; Effective Date
 CO., LTD (a.k.a. ANHUI GREATWALL               AVIATION INDUSTRY CORP OF CHINA (a.k.a.               (CMIC) 02 Aug 2021; Purchase/Sales For
 MILITARY INDUSTRY CO., LTD.; a.k.a. ANHUI       AVIATION INDUSTRY CORPORATION OF                     Divestment Date (CMIC) 03 Jun 2022; Listing
 GREATWALL MILITARY INDUSTRY                     CHINA, LTD.; a.k.a. AVIATION INDUSTRY OF             Date (CMIC) 03 Jun 2021; Unified Social Credit
 COMPANY LIMITED; a.k.a. GREATWALL               CHINA; a.k.a. "AVIC"), Building 19 Compound          Code (USCC) 916100002942059830 (China)
 MILITARY; a.k.a. GREATWALL MILITARY             A5 Shuguang Xili Chaoyang District, Beijing          [CMIC-EO13959].
 INDUSTRY), No. 99 Taoyuan Road, Economic        100028, China; Issuer Name Aviation Industry        AVIC AVIATION HIGH-TECHNOLOGY CO.,
 Development Zone, Hefei, China; Economic        Corporation of China, Ltd; ISIN                      LTD. (a.k.a. AVIC AVIATION HIGH-
 And Technological Development Zone, 99          CND10001WSL0; alt. ISIN CND10002HNP1;                TECHNOLOGY COMPANY LIMITED; a.k.a.
 Hezhang Road, Hefei 230001, China; Equity       alt. ISIN CND10002DPC3; Target Type State-           AVIC HI-TECH; f.k.a. TONTEC TECHNOLOGY
 Ticker 601606 CN; Issuer Name Anhui             Owned Enterprise; Effective Date (CMIC) 02           INVESTMENT GROUP COMPANY LIMITED),
 Greatwall Military Industry Co., Ltd; ISIN      Aug 2021; Purchase/Sales For Divestment Date         1, Yonghe Road, Gangzha District, Nantong
 CNE1000036L1; Target Type Public Company;       (CMIC) 03 Jun 2022; Listing Date (CMIC) 03           226011, China; Equity Ticker 600862 CN;
 Effective Date (CMIC) 02 Aug 2021;              Jun 2021; Unified Social Credit Code (USCC)          Issuer Name Tonmac International Co., Ltd.;
 Purchase/Sales For Divestment Date (CMIC) 03    91110000710935732K (China) [CMIC-                    ISIN CNE000000GZ0; Effective Date (CMIC) 02
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;      EO13959].                                            Aug 2021; Purchase/Sales For Divestment Date
 Unified Social Credit Code (USCC)              AVIATION INDUSTRY CORPORATION OF                      (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 9134000070503581XA (China) [CMIC-               CHINA, LTD. (a.k.a. AVIATION INDUSTRY                Jun 2021; Unified Social Credit Code (USCC)
 EO13959].                                       CORP OF CHINA; a.k.a. AVIATION INDUSTRY              91320600138299578A (China) [CMIC-
ANHUI GREATWALL MILITARY INDUSTRY                OF CHINA; a.k.a. "AVIC"), Building 19                EO13959].
 CO., LTD. (a.k.a. ANHUI GREAT WALL              Compound A5 Shuguang Xili Chaoyang District,        AVIC AVIATION HIGH-TECHNOLOGY
 MILITARY INDUSTRY CO., LTD; a.k.a. ANHUI        Beijing 100028, China; Issuer Name Aviation          COMPANY LIMITED (a.k.a. AVIC AVIATION
 GREATWALL MILITARY INDUSTRY                     Industry Corporation of China, Ltd; ISIN             HIGH-TECHNOLOGY CO., LTD.; a.k.a. AVIC
 COMPANY LIMITED; a.k.a. GREATWALL               CND10001WSL0; alt. ISIN CND10002HNP1;                HI-TECH; f.k.a. TONTEC TECHNOLOGY
 MILITARY; a.k.a. GREATWALL MILITARY             alt. ISIN CND10002DPC3; Target Type State-           INVESTMENT GROUP COMPANY LIMITED),
 INDUSTRY), No. 99 Taoyuan Road, Economic        Owned Enterprise; Effective Date (CMIC) 02           1, Yonghe Road, Gangzha District, Nantong
 Development Zone, Hefei, China; Economic        Aug 2021; Purchase/Sales For Divestment Date         226011, China; Equity Ticker 600862 CN;
 And Technological Development Zone, 99          (CMIC) 03 Jun 2022; Listing Date (CMIC) 03           Issuer Name Tonmac International Co., Ltd.;
 Hezhang Road, Hefei 230001, China; Equity       Jun 2021; Unified Social Credit Code (USCC)          ISIN CNE000000GZ0; Effective Date (CMIC) 02
 Ticker 601606 CN; Issuer Name Anhui             91110000710935732K (China) [CMIC-                    Aug 2021; Purchase/Sales For Divestment Date
 Greatwall Military Industry Co., Ltd; ISIN      EO13959].                                            (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 CNE1000036L1; Target Type Public Company;      AVIATION INDUSTRY OF CHINA (a.k.a.                    Jun 2021; Unified Social Credit Code (USCC)
 Effective Date (CMIC) 02 Aug 2021;              AVIATION INDUSTRY CORP OF CHINA; a.k.a.


December 16, 2021                                                                                                                                       -2-
               Case 4:25-cv-04075-HSG                        Document 37-6                 Filed 05/28/25                   Page 4 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 91320600138299578A (China) [CMIC-                 Issuer Name Tonmac International Co., Ltd.;          China; Equity Ticker 000768 CN; Issuer Name
 EO13959].                                         ISIN CNE000000GZ0; Effective Date (CMIC) 02          AVIC Aircraft Co., Ltd.; ISIN CNE000000RF9;
AVIC AVIONICS (f.k.a. CHINA AVIC                   Aug 2021; Purchase/Sales For Divestment Date         Target Type Public Company; Effective Date
 ELECTRONICS CO., LTD; f.k.a. CHINA AVIC           (CMIC) 03 Jun 2022; Listing Date (CMIC) 03           (CMIC) 02 Aug 2021; Purchase/Sales For
 ELECTRONICS COMPANY LIMITED; a.k.a.               Jun 2021; Unified Social Credit Code (USCC)          Divestment Date (CMIC) 03 Jun 2022; Listing
 CHINA AVIONICS SYSTEMS CO., LTD; a.k.a.           91320600138299578A (China) [CMIC-                    Date (CMIC) 03 Jun 2021; Unified Social Credit
 CHINA AVIONICS SYSTEMS COMPANY                    EO13959].                                            Code (USCC) 916100002942059830 (China)
 LIMITED), Building 20, 8th-9th Floor, 5A,        AVIC JONHON OPTRONIC TECHNOLOGY CO.,                  [CMIC-EO13959].
 Shuguangxili, Beijing 100028, China; Equity       LTD. (a.k.a. JONHON), No. 10, Zhoushan Rd.,         AVIC ZEMIC (a.k.a. ZEMIC; a.k.a. ZHONGHANG
 Ticker 600372 CN; Issuer Name China               Luoyang Area, Pilot Free Trade Zone, Luoyang,        ELECTRONIC MEASURING INSTRUMENTS
 Avionics Systems Company Limited; ISIN            Henan, China; Equity Ticker 002179 CN; Issuer        CO., LTD; a.k.a. ZHONGHANG ELECTRONIC
 CNE0000018C0; alt. ISIN CND100018CL2;             Name AVIC Jonhon Optronic Technology Co.,            MEASURING INSTRUMENTS COMPANY
 Target Type Public Company; Effective Date        Ltd.; ISIN CND10003VVT5; alt. ISIN                   LIMITED), High-Tech Industrial Development
 (CMIC) 02 Aug 2021; Purchase/Sales For            CNE1000007T5; Target Type Public Company;            Zone, 166, West Avenue, Xi'an 710119, China;
 Divestment Date (CMIC) 03 Jun 2022; Listing       Effective Date (CMIC) 02 Aug 2021;                   Equity Ticker 300114 CN; Issuer Name
 Date (CMIC) 03 Jun 2021; Unified Social Credit    Purchase/Sales For Divestment Date (CMIC) 03         Zhonghang Electronic Measuring Instruments
 Code (USCC) 91110000705514765U (China)            Jun 2022; Listing Date (CMIC) 03 Jun 2021;           Co., Ltd; ISIN CNE100000T08; Effective Date
 [CMIC-EO13959].                                   Unified Social Credit Code (USCC)                    (CMIC) 02 Aug 2021; Purchase/Sales For
AVIC HEAVY MACHINERY CO., LTD. (a.k.a.             914100007457748527 (China) [CMIC-                    Divestment Date (CMIC) 03 Jun 2022; Listing
 AVIC HEAVY MACHINERY COMPANY                      EO13959].                                            Date (CMIC) 03 Jun 2021; Unified Social Credit
 LIMITED; f.k.a. GUIZHOU LIYUAN                   AVIC SHENYANG AIRCRAFT COMPANY                        Code (USCC) 91610000745016111K (China)
 HYDRAULIC CO., LTD.; f.k.a. GUIZHOU               LIMITED (f.k.a. DONGAN HEIBAO CO., LTD.;             [CMIC-EO13959].
 LIYUAN HYDRAULIC COMPONENTS CO.,                  a.k.a. SHENYANG AIRCRAFT CO. LTD.), 1,              BAOTOU BEIFANG CHUANGYE COMPANY
 LTD.), No. 501, Beiya Road, Wudang District,      Lingbei Street, Huanggu District, Shenyang           LIMITED (a.k.a. FIRMACO; a.k.a. INNER
 Guiyang, Guizhou, China; Equity Ticker 600765     110850, China; Equity Ticker 600760 CN;              MONGOLIA FIRST MACHINERY GROUP CO.,
 CN; Issuer Name Guizhou Liyuan Hydraulic          Issuer Name Dongan Heibao Co. Ltd.; ISIN             LTD.), Minzhu Road, Qingshan District, Baotou
 Components Co., Ltd.; ISIN CNE000000N22;          CNE000000MH6; Target Type Public Company;            014032, China; Equity Ticker 600967 CN;
 Target Type Public Company; Effective Date        Effective Date (CMIC) 02 Aug 2021;                   Issuer Name Baotou Beifang Chuangye Co.,
 (CMIC) 02 Aug 2021; Purchase/Sales For            Purchase/Sales For Divestment Date (CMIC) 03         Ltd.; ISIN CNE000001HP7; Target Type Public
 Divestment Date (CMIC) 03 Jun 2022; Listing       Jun 2022; Listing Date (CMIC) 03 Jun 2021;           Company; Effective Date (CMIC) 02 Aug 2021;
 Date (CMIC) 03 Jun 2021; Unified Social Credit    Unified Social Credit Code (USCC)                    Purchase/Sales For Divestment Date (CMIC) 03
 Code (USCC) 91520000214434146R (China)            9137000016309489X2 (China) [CMIC-                    Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 [CMIC-EO13959].                                   EO13959].                                            Unified Social Credit Code (USCC)
AVIC HEAVY MACHINERY COMPANY LIMITED              AVIC XIAN AIRCRAFT INDUSTRY GROUP CO                  91150000720180740Y (China) [CMIC-
 (a.k.a. AVIC HEAVY MACHINERY CO., LTD.;           LTD (a.k.a. AVIC AIRCRAFT CO., LTD.; a.k.a.          EO13959].
 f.k.a. GUIZHOU LIYUAN HYDRAULIC CO.,              AVIC XI'AN AIRCRAFT INDUSTRY GROUP                  BEIJING NORTH PHENIX INTELLIGENCE
 LTD.; f.k.a. GUIZHOU LIYUAN HYDRAULIC             COMPANY LTD.; a.k.a. XI'AN AIRCRAFT                  TECHNOLOGY CO., LTD. (f.k.a. CHINA
 COMPONENTS CO., LTD.), No. 501, Beiya             INDUSTRIAL CORP.; a.k.a. XI'AN AIRCRAFT              NORTH OPTICAL-ELECTRICAL
 Road, Wudang District, Guiyang, Guizhou,          INDUSTRY GROUP CO LTD), No. 1, Xifei                 TECHNOLOGY CO., LTD.; a.k.a. NORTH
 China; Equity Ticker 600765 CN; Issuer Name       Avenue, Yanliang District, Xi'an, Shaanxi,           NAVIGATION CONTROL TECHNOLOGY CO.,
 Guizhou Liyuan Hydraulic Components Co.,          China; Equity Ticker 000768 CN; Issuer Name          LTD.), No. 2, Kechuang 15 Street, Economic
 Ltd.; ISIN CNE000000N22; Target Type Public       AVIC Aircraft Co., Ltd.; ISIN CNE000000RF9;          Technology Development Zone, Beijing, China;
 Company; Effective Date (CMIC) 02 Aug 2021;       Target Type Public Company; Effective Date           Equity Ticker 600435 CN; Issuer Name Beijing
 Purchase/Sales For Divestment Date (CMIC) 03      (CMIC) 02 Aug 2021; Purchase/Sales For               North Phenix Intelligence Technology Co., Ltd;
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        Divestment Date (CMIC) 03 Jun 2022; Listing          ISIN CNE000001F88; Target Type Public
 Unified Social Credit Code (USCC)                 Date (CMIC) 03 Jun 2021; Unified Social Credit       Company; Effective Date (CMIC) 02 Aug 2021;
 91520000214434146R (China) [CMIC-                 Code (USCC) 916100002942059830 (China)               Purchase/Sales For Divestment Date (CMIC) 03
 EO13959].                                         [CMIC-EO13959].                                      Jun 2022; Listing Date (CMIC) 03 Jun 2021;
AVIC HI-TECH (a.k.a. AVIC AVIATION HIGH-          AVIC XI'AN AIRCRAFT INDUSTRY GROUP                    Unified Social Credit Code (USCC)
 TECHNOLOGY CO., LTD.; a.k.a. AVIC                 COMPANY LTD. (a.k.a. AVIC AIRCRAFT CO.,              911100007226144851 (China) [CMIC-
 AVIATION HIGH-TECHNOLOGY COMPANY                  LTD.; a.k.a. AVIC XIAN AIRCRAFT INDUSTRY             EO13959].
 LIMITED; f.k.a. TONTEC TECHNOLOGY                 GROUP CO LTD; a.k.a. XI'AN AIRCRAFT                 CASIC (a.k.a. CHINA AEROSPACE SCIENCE
 INVESTMENT GROUP COMPANY LIMITED),                INDUSTRIAL CORP.; a.k.a. XI'AN AIRCRAFT              AND INDUSTRY CORPORATION; a.k.a.
 1, Yonghe Road, Gangzha District, Nantong         INDUSTRY GROUP CO LTD), No. 1, Xifei                 CHINA AEROSPACE SCIENCE AND
 226011, China; Equity Ticker 600862 CN;           Avenue, Yanliang District, Xi'an, Shaanxi,           INDUSTRY CORPORATION LIMITED), No. 8,


December 16, 2021                                                                                                                                         -3-
               Case 4:25-cv-04075-HSG                         Document 37-6                  Filed 05/28/25                   Page 5 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                      Non-SDN Chinese Military-Industrial Complex Companies List




 Fucheng Road, Haidian District, Beijing 100089,    Date (CMIC) 03 Jun 2022; Listing Date (CMIC)          91110000100014071Q (China) [CMIC-
 China; Issuer Name China Aerospace Science         03 Jun 2021; Unified Social Credit Code               EO13959].
 and Industry Corporation Limited; ISIN             (USCC) 914301007853917172 (China) [CMIC-             CHINA AEROSPACE TIMES ELECTRONICS
 CND1000142N4; Target Type State-Owned              EO13959].                                             CO., LTD (f.k.a. LONG MARCH LAUNCH
 Enterprise; Effective Date (CMIC) 02 Aug 2021;    CHINA ACADEMY OF LAUNCH VEHICLE                        VEHICLE TECHNOLOGY COMPANY
 Purchase/Sales For Divestment Date (CMIC) 03       TECHNOLOGY (a.k.a. "CALT"), 1                         LIMITED; a.k.a. "CATEC"), High-Technology
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Nandahongmen Road Fengtai District, Beijing           Industrial Zone, Economic & Technological
 Unified Social Credit Code (USCC)                  100076, China; No. 1, South Dahongmen Road,           Development Zone, Wuhan 430056, China;
 91110000710925243K (China) [CMIC-                  Fengtai District, Beijing 100076, China; Target       Equity Ticker 600879 CN; Issuer Name China
 EO13959].                                          Type State-Owned Enterprise; Effective Date           Aerospace Times Electronics Co., Ltd; ISIN
CEC CORECAST CORPORATION LIMITED                    (CMIC) 02 Aug 2021; Purchase/Sales For                CNE000000J93; alt. ISIN CND10003B821; alt.
 (a.k.a. CHINA MARINE INFORMATION                   Divestment Date (CMIC) 03 Jun 2022; Listing           ISIN CND100034J27; alt. ISIN CND100037514;
 ELECTRONICS CO LTD; a.k.a. CHINA                   Date (CMIC) 03 Jun 2021; Business                     alt. ISIN CND100032457; alt. ISIN
 MARINE INFORMATION ELECTRONICS                     Registration Number 100000108000042 (China)           CND10002R795; alt. ISIN CND10003D843; alt.
 COMPANY LIMITED; f.k.a. CHINA                      [CMIC-EO13959].                                       ISIN CND100035G37; alt. ISIN
 SHIPBUILDING INDUSTRY GROUP MARINE                CHINA AEROSPACE SCIENCE AND                            CND100037S23; alt. ISIN CND10002B3Q3; alt.
 DEFENSE AND INFORMATION                            INDUSTRY CORPORATION (a.k.a. CASIC;                   ISIN CND10002T6Q6; alt. ISIN
 CONFRONTATION CO., LTD.), 4F                       a.k.a. CHINA AEROSPACE SCIENCE AND                    CND100044B23; Target Type Public Company;
 Zhongshangxin Mansion 34 Xueyuan South             INDUSTRY CORPORATION LIMITED), No. 8,                 Effective Date (CMIC) 02 Aug 2021;
 Road, Beijing 100082, China; Equity Ticker         Fucheng Road, Haidian District, Beijing 100089,       Purchase/Sales For Divestment Date (CMIC) 03
 600764 CN; Issuer Name China Marine                China; Issuer Name China Aerospace Science            Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Information Electronics Company Limited; ISIN      and Industry Corporation Limited; ISIN                Unified Social Credit Code (USCC)
 CNE000000N30; Target Type Public Company;          CND1000142N4; Target Type State-Owned                 91420100177716821Q (China) [CMIC-
 Effective Date (CMIC) 02 Aug 2021;                 Enterprise; Effective Date (CMIC) 02 Aug 2021;        EO13959].
 Purchase/Sales For Divestment Date (CMIC) 03       Purchase/Sales For Divestment Date (CMIC) 03         CHINA AVIATION ENGINE GROUP CO., LTD
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Jun 2022; Listing Date (CMIC) 03 Jun 2021;            (a.k.a. AERO ENGINE CORP OF CHINA; a.k.a.
 Unified Social Credit Code (USCC)                  Unified Social Credit Code (USCC)                     AERO ENGINE CORPORATION OF CHINA;
 91110000224344507P (China) [CMIC-                  91110000710925243K (China) [CMIC-                     a.k.a. "AECC"), 5 Landianchang South Road
 EO13959].                                          EO13959].                                             Haidian District, Beijing 100097, China; Target
CHANGSHA JINGJIA MICROELECTRONICS                  CHINA AEROSPACE SCIENCE AND                            Type State-Owned Enterprise; Effective Date
 CO., LTD (a.k.a. CHANGSHA JINGJIA                  INDUSTRY CORPORATION LIMITED (a.k.a.                  (CMIC) 02 Aug 2021; Purchase/Sales For
 MICROELECTRONICS COMPANY LIMITED;                  CASIC; a.k.a. CHINA AEROSPACE SCIENCE                 Divestment Date (CMIC) 03 Jun 2022; Listing
 a.k.a. JINGJIA MICRO), No.1, Meixihu Road,         AND INDUSTRY CORPORATION), No. 8,                     Date (CMIC) 03 Jun 2021; Unified Social Credit
 Yuelu District, Changsha 410205, China; Equity     Fucheng Road, Haidian District, Beijing 100089,       Code (USCC) 91110000MA005UCQ5P (China)
 Ticker 300474 CN; Issuer Name Changsha             China; Issuer Name China Aerospace Science            [CMIC-EO13959].
 Jingjia Microelectronics Co., Ltd.; alt. Issuer    and Industry Corporation Limited; ISIN               CHINA AVIC ELECTRONICS CO., LTD (a.k.a.
 Name Changsha Jingjia Microelectronics             CND1000142N4; Target Type State-Owned                 AVIC AVIONICS; f.k.a. CHINA AVIC
 Company Limited; ISIN CNE100002664; Target         Enterprise; Effective Date (CMIC) 02 Aug 2021;        ELECTRONICS COMPANY LIMITED; a.k.a.
 Type Public Company; Effective Date (CMIC)         Purchase/Sales For Divestment Date (CMIC) 03          CHINA AVIONICS SYSTEMS CO., LTD; a.k.a.
 02 Aug 2021; Purchase/Sales For Divestment         Jun 2022; Listing Date (CMIC) 03 Jun 2021;            CHINA AVIONICS SYSTEMS COMPANY
 Date (CMIC) 03 Jun 2022; Listing Date (CMIC)       Unified Social Credit Code (USCC)                     LIMITED), Building 20, 8th-9th Floor, 5A,
 03 Jun 2021; Unified Social Credit Code            91110000710925243K (China) [CMIC-                     Shuguangxili, Beijing 100028, China; Equity
 (USCC) 914301007853917172 (China) [CMIC-           EO13959].                                             Ticker 600372 CN; Issuer Name China
 EO13959].                                         CHINA AEROSPACE SCIENCE AND                            Avionics Systems Company Limited; ISIN
CHANGSHA JINGJIA MICROELECTRONICS                   TECHNOLOGY CORPORATION (a.k.a.                        CNE0000018C0; alt. ISIN CND100018CL2;
 COMPANY LIMITED (a.k.a. CHANGSHA                   "CASC"), No. 8, Fucheng Road, Haidian                 Target Type Public Company; Effective Date
 JINGJIA MICROELECTRONICS CO., LTD;                 District, Beijing 100048, China; Issuer Name          (CMIC) 02 Aug 2021; Purchase/Sales For
 a.k.a. JINGJIA MICRO), No.1, Meixihu Road,         China Aerospace Science and Technology                Divestment Date (CMIC) 03 Jun 2022; Listing
 Yuelu District, Changsha 410205, China; Equity     Corporation; ISIN CND1000090Q8; alt. ISIN             Date (CMIC) 03 Jun 2021; Unified Social Credit
 Ticker 300474 CN; Issuer Name Changsha             CND100006HP7; Target Type State-Owned                 Code (USCC) 91110000705514765U (China)
 Jingjia Microelectronics Co., Ltd.; alt. Issuer    Enterprise; Effective Date (CMIC) 02 Aug 2021;        [CMIC-EO13959].
 Name Changsha Jingjia Microelectronics             Purchase/Sales For Divestment Date (CMIC) 03         CHINA AVIC ELECTRONICS COMPANY
 Company Limited; ISIN CNE100002664; Target         Jun 2022; Listing Date (CMIC) 03 Jun 2021;            LIMITED (a.k.a. AVIC AVIONICS; f.k.a. CHINA
 Type Public Company; Effective Date (CMIC)         Unified Social Credit Code (USCC)                     AVIC ELECTRONICS CO., LTD; a.k.a. CHINA
 02 Aug 2021; Purchase/Sales For Divestment                                                               AVIONICS SYSTEMS CO., LTD; a.k.a. CHINA


December 16, 2021                                                                                                                                           -4-
               Case 4:25-cv-04075-HSG                        Document 37-6                 Filed 05/28/25                   Page 6 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 AVIONICS SYSTEMS COMPANY LIMITED),                Construction Co. Ltd; alt. Issuer Name China         Divestment Date (CMIC) 03 Jun 2022; Listing
 Building 20, 8th-9th Floor, 5A, Shuguangxili,     Communications Construction Company                  Date (CMIC) 03 Jun 2021; Unified Social Credit
 Beijing 100028, China; Equity Ticker 600372       Limited; alt. Issuer Name China                      Code (USCC) 91110000710934369E (China)
 CN; Issuer Name China Avionics Systems            Communications Construction Company Ltd;             [CMIC-EO13959].
 Company Limited; ISIN CNE0000018C0; alt.          alt. Issuer Name China Communications Constr        CHINA COMMUNICATIONS CONSTRUCTION
 ISIN CND100018CL2; Target Type Public             Co Ltd; ISIN CND10000GBD8; alt. ISIN                 COMPANY LIMITED (a.k.a. CHINA
 Company; Effective Date (CMIC) 02 Aug 2021;       CND10001TD67; alt. ISIN CND10002GB63; alt.           COMMUNICATIONS CONSTR CO LTD; a.k.a.
 Purchase/Sales For Divestment Date (CMIC) 03      ISIN CND10001TD75; alt. ISIN US1689261030;           CHINA COMMUNICATIONS CONSTRUCTION
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        alt. ISIN CND10002G6P3; alt. ISIN                    CO LTD; a.k.a. CHINA COMMUNICATIONS
 Unified Social Credit Code (USCC)                 CND10003TZ93; alt. ISIN CND100017CS9; alt.           CONSTRUCTION COMPANY LTD; a.k.a.
 91110000705514765U (China) [CMIC-                 ISIN CND10001TD59; alt. ISIN                         "CCCC"), 85, Deshengmen Street, Xicheng
 EO13959].                                         CND10002K094; alt. ISIN CND10002H1Z2; alt.           District, Beijing 100088, China; Equity Ticker
CHINA AVIONICS SYSTEMS CO., LTD (a.k.a.            ISIN CND10003R421; alt. ISIN                         601800 CN; alt. Equity Ticker 01800 HK; alt.
 AVIC AVIONICS; f.k.a. CHINA AVIC                  CND10002KKV9; alt. ISIN CND10002DZZ3; alt.           Equity Ticker CYY DE; Issuer Name China
 ELECTRONICS CO., LTD; f.k.a. CHINA AVIC           ISIN CND10003KT58; alt. ISIN                         Communications Construction Co. Ltd; alt.
 ELECTRONICS COMPANY LIMITED; a.k.a.               CND100043Z00; alt. ISIN CNE1000002F5; alt.           Issuer Name China Communications
 CHINA AVIONICS SYSTEMS COMPANY                    ISIN CND10002G601; alt. ISIN                         Construction Company Limited; alt. Issuer
 LIMITED), Building 20, 8th-9th Floor, 5A,         CND10002GB71; alt. ISIN CNE100001FN5;                Name China Communications Construction
 Shuguangxili, Beijing 100028, China; Equity       Target Type Public Company; Effective Date           Company Ltd; alt. Issuer Name China
 Ticker 600372 CN; Issuer Name China               (CMIC) 02 Aug 2021; Purchase/Sales For               Communications Constr Co Ltd; ISIN
 Avionics Systems Company Limited; ISIN            Divestment Date (CMIC) 03 Jun 2022; Listing          CND10000GBD8; alt. ISIN CND10001TD67; alt.
 CNE0000018C0; alt. ISIN CND100018CL2;             Date (CMIC) 03 Jun 2021; Unified Social Credit       ISIN CND10002GB63; alt. ISIN
 Target Type Public Company; Effective Date        Code (USCC) 91110000710934369E (China)               CND10001TD75; alt. ISIN US1689261030; alt.
 (CMIC) 02 Aug 2021; Purchase/Sales For            [CMIC-EO13959].                                      ISIN CND10002G6P3; alt. ISIN
 Divestment Date (CMIC) 03 Jun 2022; Listing      CHINA COMMUNICATIONS CONSTRUCTION                     CND10003TZ93; alt. ISIN CND100017CS9; alt.
 Date (CMIC) 03 Jun 2021; Unified Social Credit    CO LTD (a.k.a. CHINA COMMUNICATIONS                  ISIN CND10001TD59; alt. ISIN
 Code (USCC) 91110000705514765U (China)            CONSTR CO LTD; a.k.a. CHINA                          CND10002K094; alt. ISIN CND10002H1Z2; alt.
 [CMIC-EO13959].                                   COMMUNICATIONS CONSTRUCTION                          ISIN CND10003R421; alt. ISIN
CHINA AVIONICS SYSTEMS COMPANY                     COMPANY LIMITED; a.k.a. CHINA                        CND10002KKV9; alt. ISIN CND10002DZZ3; alt.
 LIMITED (a.k.a. AVIC AVIONICS; f.k.a. CHINA       COMMUNICATIONS CONSTRUCTION                          ISIN CND10003KT58; alt. ISIN
 AVIC ELECTRONICS CO., LTD; f.k.a. CHINA           COMPANY LTD; a.k.a. "CCCC"), 85,                     CND100043Z00; alt. ISIN CNE1000002F5; alt.
 AVIC ELECTRONICS COMPANY LIMITED;                 Deshengmen Street, Xicheng District, Beijing         ISIN CND10002G601; alt. ISIN
 a.k.a. CHINA AVIONICS SYSTEMS CO., LTD),          100088, China; Equity Ticker 601800 CN; alt.         CND10002GB71; alt. ISIN CNE100001FN5;
 Building 20, 8th-9th Floor, 5A, Shuguangxili,     Equity Ticker 01800 HK; alt. Equity Ticker CYY       Target Type Public Company; Effective Date
 Beijing 100028, China; Equity Ticker 600372       DE; Issuer Name China Communications                 (CMIC) 02 Aug 2021; Purchase/Sales For
 CN; Issuer Name China Avionics Systems            Construction Co. Ltd; alt. Issuer Name China         Divestment Date (CMIC) 03 Jun 2022; Listing
 Company Limited; ISIN CNE0000018C0; alt.          Communications Construction Company                  Date (CMIC) 03 Jun 2021; Unified Social Credit
 ISIN CND100018CL2; Target Type Public             Limited; alt. Issuer Name China                      Code (USCC) 91110000710934369E (China)
 Company; Effective Date (CMIC) 02 Aug 2021;       Communications Construction Company Ltd;             [CMIC-EO13959].
 Purchase/Sales For Divestment Date (CMIC) 03      alt. Issuer Name China Communications Constr        CHINA COMMUNICATIONS CONSTRUCTION
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        Co Ltd; ISIN CND10000GBD8; alt. ISIN                 COMPANY LTD (a.k.a. CHINA
 Unified Social Credit Code (USCC)                 CND10001TD67; alt. ISIN CND10002GB63; alt.           COMMUNICATIONS CONSTR CO LTD; a.k.a.
 91110000705514765U (China) [CMIC-                 ISIN CND10001TD75; alt. ISIN US1689261030;           CHINA COMMUNICATIONS CONSTRUCTION
 EO13959].                                         alt. ISIN CND10002G6P3; alt. ISIN                    CO LTD; a.k.a. CHINA COMMUNICATIONS
CHINA COMMUNICATIONS CONSTR CO LTD                 CND10003TZ93; alt. ISIN CND100017CS9; alt.           CONSTRUCTION COMPANY LIMITED; a.k.a.
 (a.k.a. CHINA COMMUNICATIONS                      ISIN CND10001TD59; alt. ISIN                         "CCCC"), 85, Deshengmen Street, Xicheng
 CONSTRUCTION CO LTD; a.k.a. CHINA                 CND10002K094; alt. ISIN CND10002H1Z2; alt.           District, Beijing 100088, China; Equity Ticker
 COMMUNICATIONS CONSTRUCTION                       ISIN CND10003R421; alt. ISIN                         601800 CN; alt. Equity Ticker 01800 HK; alt.
 COMPANY LIMITED; a.k.a. CHINA                     CND10002KKV9; alt. ISIN CND10002DZZ3; alt.           Equity Ticker CYY DE; Issuer Name China
 COMMUNICATIONS CONSTRUCTION                       ISIN CND10003KT58; alt. ISIN                         Communications Construction Co. Ltd; alt.
 COMPANY LTD; a.k.a. "CCCC"), 85,                  CND100043Z00; alt. ISIN CNE1000002F5; alt.           Issuer Name China Communications
 Deshengmen Street, Xicheng District, Beijing      ISIN CND10002G601; alt. ISIN                         Construction Company Limited; alt. Issuer
 100088, China; Equity Ticker 601800 CN; alt.      CND10002GB71; alt. ISIN CNE100001FN5;                Name China Communications Construction
 Equity Ticker 01800 HK; alt. Equity Ticker CYY    Target Type Public Company; Effective Date           Company Ltd; alt. Issuer Name China
 DE; Issuer Name China Communications              (CMIC) 02 Aug 2021; Purchase/Sales For               Communications Constr Co Ltd; ISIN


December 16, 2021                                                                                                                                         -5-
               Case 4:25-cv-04075-HSG                        Document 37-6                  Filed 05/28/25                   Page 7 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                     Non-SDN Chinese Military-Industrial Complex Companies List




 CND10000GBD8; alt. ISIN CND10001TD67; alt.        Communications Group Company Limited; ISIN            Unified Social Credit Code (USCC)
 ISIN CND10002GB63; alt. ISIN                      CND10003RDS3; alt. ISIN CND100041XX5; alt.            91110000710933809D (China) [CMIC-
 CND10001TD75; alt. ISIN US1689261030; alt.        ISIN CND1000455C3; alt. ISIN                          EO13959] (Linked To: CHINA
 ISIN CND10002G6P3; alt. ISIN                      CND100041XW7; alt. ISIN CND1000455B5;                 COMMUNICATIONS CONSTRUCTION
 CND10003TZ93; alt. ISIN CND100017CS9; alt.        Target Type Private Company; Effective Date           COMPANY LIMITED).
 ISIN CND10001TD59; alt. ISIN                      (CMIC) 02 Aug 2021; Purchase/Sales For               CHINA ELECTRONICS CORPORATION (a.k.a.
 CND10002K094; alt. ISIN CND10002H1Z2; alt.        Divestment Date (CMIC) 03 Jun 2022; Listing           "CEC"), 19F, Building 1, No. 66A,
 ISIN CND10003R421; alt. ISIN                      Date (CMIC) 03 Jun 2021; Unified Social Credit        Zhongguancun East Road, Haidian District,
 CND10002KKV9; alt. ISIN CND10002DZZ3; alt.        Code (USCC) 91110000710933809D (China)                Beijing 100190, China; Issuer Name China
 ISIN CND10003KT58; alt. ISIN                      [CMIC-EO13959] (Linked To: CHINA                      Electronics Corporation; ISIN CND10000KG49;
 CND100043Z00; alt. ISIN CNE1000002F5; alt.        COMMUNICATIONS CONSTRUCTION                           alt. ISIN CND10002F8S4; Target Type State-
 ISIN CND10002G601; alt. ISIN                      COMPANY LIMITED).                                     Owned Enterprise; Effective Date (CMIC) 02
 CND10002GB71; alt. ISIN CNE100001FN5;            CHINA COMMUNICATIONS GROUP CO. LTD                     Aug 2021; Purchase/Sales For Divestment Date
 Target Type Public Company; Effective Date        (a.k.a. CHINA COMMUNICATIONS                          (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 (CMIC) 02 Aug 2021; Purchase/Sales For            CONSTRUCTION GROUP (LIMITED); a.k.a.                  Jun 2021; Legal Entity Number
 Divestment Date (CMIC) 03 Jun 2022; Listing       CHINA COMMUNICATIONS CONSTRUCTION                     300300PV91RY9GH3CT16; Unified Social
 Date (CMIC) 03 Jun 2021; Unified Social Credit    GROUP (LTD); a.k.a. CHINA                             Credit Code (USCC) 91110000100010249W
 Code (USCC) 91110000710934369E (China)            COMMUNICATIONS GROUP COMPANY                          (China) [CMIC-EO13959] (Linked To: NANJING
 [CMIC-EO13959].                                   LIMITED; a.k.a. "CCCG"), No. 85, Deshengmen           PANDA ELECTRONICS COMPANY LIMITED).
CHINA COMMUNICATIONS CONSTRUCTION                  Outer Street, Xicheng District, Beijing 100088,      CHINA ELECTRONICS TECHNOLOGY GROUP
 GROUP (LIMITED) (a.k.a. CHINA                     China; Issuer Name China Communications               CORPORATION (a.k.a. "CETC"), No. 27,
 COMMUNICATIONS CONSTRUCTION                       Group Co. Ltd; alt. Issuer Name China                 Wanshou Road, Haidian District, Beijing
 GROUP (LTD); a.k.a. CHINA                         Communications Construction Group (Ltd.); alt.        100846, China; Target Type State-Owned
 COMMUNICATIONS GROUP CO. LTD; a.k.a.              Issuer Name China Communications Group                Enterprise; Effective Date (CMIC) 02 Aug 2021;
 CHINA COMMUNICATIONS GROUP                        Company Limited; ISIN CND10003RDS3; alt.              Purchase/Sales For Divestment Date (CMIC) 03
 COMPANY LIMITED; a.k.a. "CCCG"), No. 85,          ISIN CND100041XX5; alt. ISIN                          Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Deshengmen Outer Street, Xicheng District,        CND1000455C3; alt. ISIN CND100041XW7; alt.            Unified Social Credit Code (USCC)
 Beijing 100088, China; Issuer Name China          ISIN CND1000455B5; Target Type Private                91110000710929498G (China) [CMIC-
 Communications Group Co. Ltd; alt. Issuer         Company; Effective Date (CMIC) 02 Aug 2021;           EO13959].
 Name China Communications Construction            Purchase/Sales For Divestment Date (CMIC) 03         CHINA GENERAL NUCLEAR POWER CORP
 Group (Ltd.); alt. Issuer Name China              Jun 2022; Listing Date (CMIC) 03 Jun 2021;            (a.k.a. CHINA GENERAL NUCLEAR POWER
 Communications Group Company Limited; ISIN        Unified Social Credit Code (USCC)                     CORPORATION; a.k.a. "CGN"), 33F, South
 CND10003RDS3; alt. ISIN CND100041XX5; alt.        91110000710933809D (China) [CMIC-                     Building, China General Nuclear Building, No.
 ISIN CND1000455C3; alt. ISIN                      EO13959] (Linked To: CHINA                            2002 Shennan Avenue, Futian District,
 CND100041XW7; alt. ISIN CND1000455B5;             COMMUNICATIONS CONSTRUCTION                           Shenzhen, Guangdong, China; Issuer Name
 Target Type Private Company; Effective Date       COMPANY LIMITED).                                     China General Nuclear Power Corporation; ISIN
 (CMIC) 02 Aug 2021; Purchase/Sales For           CHINA COMMUNICATIONS GROUP COMPANY                     CND10003XXN0; alt. ISIN CND1000248C2; alt.
 Divestment Date (CMIC) 03 Jun 2022; Listing       LIMITED (a.k.a. CHINA COMMUNICATIONS                  ISIN CND10003GZY7; alt. ISIN
 Date (CMIC) 03 Jun 2021; Unified Social Credit    CONSTRUCTION GROUP (LIMITED); a.k.a.                  CND1000363K2; Target Type Private
 Code (USCC) 91110000710933809D (China)            CHINA COMMUNICATIONS CONSTRUCTION                     Company; Effective Date (CMIC) 02 Aug 2021;
 [CMIC-EO13959] (Linked To: CHINA                  GROUP (LTD); a.k.a. CHINA                             Purchase/Sales For Divestment Date (CMIC) 03
 COMMUNICATIONS CONSTRUCTION                       COMMUNICATIONS GROUP CO. LTD; a.k.a.                  Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 COMPANY LIMITED).                                 "CCCG"), No. 85, Deshengmen Outer Street,             Unified Social Credit Code (USCC)
CHINA COMMUNICATIONS CONSTRUCTION                  Xicheng District, Beijing 100088, China; Issuer       9144030010001694XX (China) [CMIC-
 GROUP (LTD) (a.k.a. CHINA                         Name China Communications Group Co. Ltd;              EO13959].
 COMMUNICATIONS CONSTRUCTION                       alt. Issuer Name China Communications                CHINA GENERAL NUCLEAR POWER
 GROUP (LIMITED); a.k.a. CHINA                     Construction Group (Ltd.); alt. Issuer Name           CORPORATION (a.k.a. CHINA GENERAL
 COMMUNICATIONS GROUP CO. LTD; a.k.a.              China Communications Group Company                    NUCLEAR POWER CORP; a.k.a. "CGN"), 33F,
 CHINA COMMUNICATIONS GROUP                        Limited; ISIN CND10003RDS3; alt. ISIN                 South Building, China General Nuclear Building,
 COMPANY LIMITED; a.k.a. "CCCG"), No. 85,          CND100041XX5; alt. ISIN CND1000455C3; alt.            No. 2002 Shennan Avenue, Futian District,
 Deshengmen Outer Street, Xicheng District,        ISIN CND100041XW7; alt. ISIN                          Shenzhen, Guangdong, China; Issuer Name
 Beijing 100088, China; Issuer Name China          CND1000455B5; Target Type Private                     China General Nuclear Power Corporation; ISIN
 Communications Group Co. Ltd; alt. Issuer         Company; Effective Date (CMIC) 02 Aug 2021;           CND10003XXN0; alt. ISIN CND1000248C2; alt.
 Name China Communications Construction            Purchase/Sales For Divestment Date (CMIC) 03          ISIN CND10003GZY7; alt. ISIN
 Group (Ltd.); alt. Issuer Name China              Jun 2022; Listing Date (CMIC) 03 Jun 2021;            CND1000363K2; Target Type Private


December 16, 2021                                                                                                                                          -6-
               Case 4:25-cv-04075-HSG                         Document 37-6                    Filed 05/28/25                   Page 8 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                        Non-SDN Chinese Military-Industrial Complex Companies List




 Company; Effective Date (CMIC) 02 Aug 2021;        Financial Street, Xicheng District, Beijing             Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Purchase/Sales For Divestment Date (CMIC) 03       100032, China; Target Type Private Company;             Unified Social Credit Code (USCC)
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Effective Date (CMIC) 02 Aug 2021;                      91110000717828569P (China) [CMIC-
 Unified Social Credit Code (USCC)                  Purchase/Sales For Divestment Date (CMIC) 03            EO13959].
 9144030010001694XX (China) [CMIC-                  Jun 2022; Listing Date (CMIC) 03 Jun 2021;             CHINA NATIONAL NUCLEAR CORP (a.k.a.
 EO13959].                                          Unified Social Credit Code (USCC)                       CHINA NATIONAL NUCLEAR
CHINA MARINE INFORMATION ELECTRONICS                911100007109250324 (China) [CMIC-                       CORPORATION; a.k.a. "CNNC"), No. 1,
 CO LTD (f.k.a. CEC CORECAST                        EO13959].                                               Nansan Lane, Sanlihe, Xicheng District, Beijing
 CORPORATION LIMITED; a.k.a. CHINA                 CHINA MOBILE LIMITED (a.k.a. CHINA MOBILE                100822, China; Issuer Name China National
 MARINE INFORMATION ELECTRONICS                     LTD), 60th Floor, The Center, 99 Queens Road            Nuclear Corporation; ISIN CND10000KRQ8; alt.
 COMPANY LIMITED; f.k.a. CHINA                      Central, Hong Kong, China; Equity Ticker CHL            ISIN CND100005B38; alt. ISIN CND10002J9T6;
 SHIPBUILDING INDUSTRY GROUP MARINE                 US; alt. Equity Ticker 941 HK; alt. Equity Ticker       alt. ISIN CND100027TJ1; alt. ISIN
 DEFENSE AND INFORMATION                            CHL RU; alt. Equity Ticker CTMA DE; alt.                CND10002DLF5; alt. ISIN CND10003RXC5; alt.
 CONFRONTATION CO., LTD.), 4F                       Equity Ticker K3PD SG; alt. Equity Ticker CTM           ISIN CND10002J9V2; alt. ISIN
 Zhongshangxin Mansion 34 Xueyuan South             DE; alt. Equity Ticker C1HL34 BR; alt. Equity           CND100005B20; alt. ISIN CND100025BB0; alt.
 Road, Beijing 100082, China; Equity Ticker         Ticker CHL AR; Issuer Name China Mobile                 ISIN CND10003VCD9; alt. ISIN
 600764 CN; Issuer Name China Marine                Limited; alt. Issuer Name China Mobile Ltd; ISIN        CND10003RXB7; alt. ISIN CND10001ZPR6;
 Information Electronics Company Limited; ISIN      US16941M1099; alt. ISIN HK0941009539; alt.              Target Type Private Company; Effective Date
 CNE000000N30; Target Type Public Company;          ISIN BRC1HLBDR003; alt. ISIN                            (CMIC) 02 Aug 2021; Purchase/Sales For
 Effective Date (CMIC) 02 Aug 2021;                 ARDEUT111812; Target Type Public Company;               Divestment Date (CMIC) 03 Jun 2022; Listing
 Purchase/Sales For Divestment Date (CMIC) 03       Effective Date (CMIC) 02 Aug 2021;                      Date (CMIC) 03 Jun 2021; Unified Social Credit
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Purchase/Sales For Divestment Date (CMIC) 03            Code (USCC) 91110000100009563N (China)
 Unified Social Credit Code (USCC)                  Jun 2022; Listing Date (CMIC) 03 Jun 2021               [CMIC-EO13959].
 91110000224344507P (China) [CMIC-                  [CMIC-EO13959] (Linked To: CHINA MOBILE                CHINA NATIONAL NUCLEAR CORPORATION
 EO13959].                                          COMMUNICATIONS GROUP CO., LTD.).                        (a.k.a. CHINA NATIONAL NUCLEAR CORP;
CHINA MARINE INFORMATION ELECTRONICS               CHINA MOBILE LTD (a.k.a. CHINA MOBILE                    a.k.a. "CNNC"), No. 1, Nansan Lane, Sanlihe,
 COMPANY LIMITED (f.k.a. CEC CORECAST               LIMITED), 60th Floor, The Center, 99 Queens             Xicheng District, Beijing 100822, China; Issuer
 CORPORATION LIMITED; a.k.a. CHINA                  Road Central, Hong Kong, China; Equity Ticker           Name China National Nuclear Corporation; ISIN
 MARINE INFORMATION ELECTRONICS CO                  CHL US; alt. Equity Ticker 941 HK; alt. Equity          CND10000KRQ8; alt. ISIN CND100005B38; alt.
 LTD; f.k.a. CHINA SHIPBUILDING INDUSTRY            Ticker CHL RU; alt. Equity Ticker CTMA DE; alt.         ISIN CND10002J9T6; alt. ISIN CND100027TJ1;
 GROUP MARINE DEFENSE AND                           Equity Ticker K3PD SG; alt. Equity Ticker CTM           alt. ISIN CND10002DLF5; alt. ISIN
 INFORMATION CONFRONTATION CO.,                     DE; alt. Equity Ticker C1HL34 BR; alt. Equity           CND10003RXC5; alt. ISIN CND10002J9V2; alt.
 LTD.), 4F Zhongshangxin Mansion 34 Xueyuan         Ticker CHL AR; Issuer Name China Mobile                 ISIN CND100005B20; alt. ISIN
 South Road, Beijing 100082, China; Equity          Limited; alt. Issuer Name China Mobile Ltd; ISIN        CND100025BB0; alt. ISIN CND10003VCD9; alt.
 Ticker 600764 CN; Issuer Name China Marine         US16941M1099; alt. ISIN HK0941009539; alt.              ISIN CND10003RXB7; alt. ISIN
 Information Electronics Company Limited; ISIN      ISIN BRC1HLBDR003; alt. ISIN                            CND10001ZPR6; Target Type Private
 CNE000000N30; Target Type Public Company;          ARDEUT111812; Target Type Public Company;               Company; Effective Date (CMIC) 02 Aug 2021;
 Effective Date (CMIC) 02 Aug 2021;                 Effective Date (CMIC) 02 Aug 2021;                      Purchase/Sales For Divestment Date (CMIC) 03
 Purchase/Sales For Divestment Date (CMIC) 03       Purchase/Sales For Divestment Date (CMIC) 03            Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Jun 2022; Listing Date (CMIC) 03 Jun 2021               Unified Social Credit Code (USCC)
 Unified Social Credit Code (USCC)                  [CMIC-EO13959] (Linked To: CHINA MOBILE                 91110000100009563N (China) [CMIC-
 91110000224344507P (China) [CMIC-                  COMMUNICATIONS GROUP CO., LTD.).                        EO13959].
 EO13959].                                         CHINA NATIONAL ENGINEERING &                            CHINA NATIONAL OFFSHORE OIL CORP.
CHINA MOBILE (a.k.a. CHINA MOBILE                   CONSTRUCTION CORPORATION LIMITED                        (a.k.a. CHINA NATIONAL OFFSHORE OIL
 COMMUNICATIONS GROUP CO., LTD.), No.               (a.k.a. CHINA NUCLEAR ENGINEERING &                     CORPORATION; a.k.a. CNOOC), No. 25,
 29, Financial Street, Xicheng District, Beijing    CONSTRUCTION CORP LTD; a.k.a. CHINA                     Chaoyangmen North Street, Dongcheng
 100032, China; Target Type Private Company;        NUCLEAR ENGINEERING CORPORATION                         District, Beijing 100010, China; Target Type
 Effective Date (CMIC) 02 Aug 2021;                 LIMITED; a.k.a. "CNEC"; a.k.a. "CNECC"), No.            State-Owned Enterprise; Effective Date (CMIC)
 Purchase/Sales For Divestment Date (CMIC) 03       12 Chegongzhuang Avenue, Xicheng District,              02 Aug 2021; Purchase/Sales For Divestment
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Beijing 100037, China; Equity Ticker 601611             Date (CMIC) 03 Jun 2022; Listing Date (CMIC)
 Unified Social Credit Code (USCC)                  CN; Issuer Name China Nuclear Engineering               03 Jun 2021; Legal Entity Number
 911100007109250324 (China) [CMIC-                  Corporation Limited; ISIN CNE100002896; alt.            300300AY5BEBCYDR2F31; Unified Social
 EO13959].                                          ISIN CND10003XJ14; Target Type Public                   Credit Code (USCC) 91110000100001043E
CHINA MOBILE COMMUNICATIONS GROUP                   Company; Effective Date (CMIC) 02 Aug 2021;             (China) [CMIC-EO13959].
 CO., LTD. (a.k.a. CHINA MOBILE), No. 29,           Purchase/Sales For Divestment Date (CMIC) 03


December 16, 2021                                                                                                                                             -7-
                Case 4:25-cv-04075-HSG                          Document 37-6                  Filed 05/28/25                   Page 9 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                        Non-SDN Chinese Military-Industrial Complex Companies List




CHINA NATIONAL OFFSHORE OIL                           NORINCO GROUP; a.k.a. "CNIGC"), No. 46,               China; Equity Ticker 601611 CN; Issuer Name
 CORPORATION (a.k.a. CHINA NATIONAL                   Sanlihe Road, Xicheng District, Beijing 100821,       China Nuclear Engineering Corporation Limited;
 OFFSHORE OIL CORP.; a.k.a. CNOOC), No.               China; Issuer Name China North Industries             ISIN CNE100002896; alt. ISIN CND10003XJ14;
 25, Chaoyangmen North Street, Dongcheng              Group Corporation Limited; alt. Issuer Name           Target Type Public Company; Effective Date
 District, Beijing 100010, China; Target Type         China North Industries Group Co. Ltd; ISIN            (CMIC) 02 Aug 2021; Purchase/Sales For
 State-Owned Enterprise; Effective Date (CMIC)        CND10001PXG4; alt. ISIN CND10000KPW0;                 Divestment Date (CMIC) 03 Jun 2022; Listing
 02 Aug 2021; Purchase/Sales For Divestment           alt. ISIN CND10000KSK9; alt. ISIN                     Date (CMIC) 03 Jun 2021; Unified Social Credit
 Date (CMIC) 03 Jun 2022; Listing Date (CMIC)         CND1000133M5; Target Type Private                     Code (USCC) 91110000717828569P (China)
 03 Jun 2021; Legal Entity Number                     Company; Effective Date (CMIC) 02 Aug 2021;           [CMIC-EO13959].
 300300AY5BEBCYDR2F31; Unified Social                 Purchase/Sales For Divestment Date (CMIC) 03         CHINA RAILWAY CONSTRUCTION
 Credit Code (USCC) 91110000100001043E                Jun 2022; Listing Date (CMIC) 03 Jun 2021;            CORPORATION LIMITED (a.k.a. "CRCC"),
 (China) [CMIC-EO13959].                              Unified Social Credit Code (USCC)                     East Yard No. 40, Fuxing Road, Haidian
CHINA NORTH INDUSTRIES GROUP CO. LTD                  91110000710924910P (China) [CMIC-                     District, Beijing 100855, China; Equity Ticker
 (a.k.a. CHINA NORTH INDUSTRIES GROUP                 EO13959].                                             601186 CN; alt. Equity Ticker 1186 HK; Issuer
 CORPORATION; a.k.a. CHINA NORTH                     CHINA NORTH OPTICAL-ELECTRICAL                         Name China Railway Construction Corporation
 INDUSTRIES GROUP CORPORATION                         TECHNOLOGY CO., LTD. (f.k.a. BEIJING                  Limited; ISIN CNE1000009T1; Target Type
 LIMITED; a.k.a. NORINCO; a.k.a. NORINCO              NORTH PHENIX INTELLIGENCE                             Public Company; Effective Date (CMIC) 02 Aug
 GROUP; a.k.a. "CNIGC"), No. 46, Sanlihe              TECHNOLOGY CO., LTD.; a.k.a. NORTH                    2021; Purchase/Sales For Divestment Date
 Road, Xicheng District, Beijing 100821, China;       NAVIGATION CONTROL TECHNOLOGY CO.,                    (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 Issuer Name China North Industries Group             LTD.), No. 2, Kechuang 15 Street, Economic            Jun 2021; Unified Social Credit Code (USCC)
 Corporation Limited; alt. Issuer Name China          Technology Development Zone, Beijing, China;          91110000710935150D (China) [CMIC-
 North Industries Group Co. Ltd; ISIN                 Equity Ticker 600435 CN; Issuer Name Beijing          EO13959].
 CND10001PXG4; alt. ISIN CND10000KPW0;                North Phenix Intelligence Technology Co., Ltd;       CHINA SATCOM (a.k.a. CHINA SATELLITE
 alt. ISIN CND10000KSK9; alt. ISIN                    ISIN CNE000001F88; Target Type Public                 COMMUNICATIONS CO., LTD.), China
 CND1000133M5; Target Type Private                    Company; Effective Date (CMIC) 02 Aug 2021;           Satellite Communications Tower, Building A,
 Company; Effective Date (CMIC) 02 Aug 2021;          Purchase/Sales For Divestment Date (CMIC) 03          21st Floor, 65, Zhichun Road, Haidian District,
 Purchase/Sales For Divestment Date (CMIC) 03         Jun 2022; Listing Date (CMIC) 03 Jun 2021;            Beijing 100190, China; Equity Ticker 601698
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;           Unified Social Credit Code (USCC)                     CN; Issuer Name China Satellite
 Unified Social Credit Code (USCC)                    911100007226144851 (China) [CMIC-                     Communications Co., Ltd.; ISIN
 91110000710924910P (China) [CMIC-                    EO13959].                                             CNE100003PX9; Target Type Public Company;
 EO13959].                                           CHINA NUCLEAR ENGINEERING &                            Effective Date (CMIC) 02 Aug 2021;
CHINA NORTH INDUSTRIES GROUP                          CONSTRUCTION CORP LTD (a.k.a. CHINA                   Purchase/Sales For Divestment Date (CMIC) 03
 CORPORATION (a.k.a. CHINA NORTH                      NATIONAL ENGINEERING &                                Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 INDUSTRIES GROUP CO. LTD; a.k.a. CHINA               CONSTRUCTION CORPORATION LIMITED;                     Unified Social Credit Code (USCC)
 NORTH INDUSTRIES GROUP                               a.k.a. CHINA NUCLEAR ENGINEERING                      91110000710929113P (China) [CMIC-
 CORPORATION LIMITED; a.k.a. NORINCO;                 CORPORATION LIMITED; a.k.a. "CNEC";                   EO13959].
 a.k.a. NORINCO GROUP; a.k.a. "CNIGC"), No.           a.k.a. "CNECC"), No. 12 Chegongzhuang                CHINA SATELLITE COMMUNICATIONS CO.,
 46, Sanlihe Road, Xicheng District, Beijing          Avenue, Xicheng District, Beijing 100037,             LTD. (a.k.a. CHINA SATCOM), China Satellite
 100821, China; Issuer Name China North               China; Equity Ticker 601611 CN; Issuer Name           Communications Tower, Building A, 21st Floor,
 Industries Group Corporation Limited; alt. Issuer    China Nuclear Engineering Corporation Limited;        65, Zhichun Road, Haidian District, Beijing
 Name China North Industries Group Co. Ltd;           ISIN CNE100002896; alt. ISIN CND10003XJ14;            100190, China; Equity Ticker 601698 CN;
 ISIN CND10001PXG4; alt. ISIN                         Target Type Public Company; Effective Date            Issuer Name China Satellite Communications
 CND10000KPW0; alt. ISIN CND10000KSK9;                (CMIC) 02 Aug 2021; Purchase/Sales For                Co., Ltd.; ISIN CNE100003PX9; Target Type
 alt. ISIN CND1000133M5; Target Type Private          Divestment Date (CMIC) 03 Jun 2022; Listing           Public Company; Effective Date (CMIC) 02 Aug
 Company; Effective Date (CMIC) 02 Aug 2021;          Date (CMIC) 03 Jun 2021; Unified Social Credit        2021; Purchase/Sales For Divestment Date
 Purchase/Sales For Divestment Date (CMIC) 03         Code (USCC) 91110000717828569P (China)                (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;           [CMIC-EO13959].                                       Jun 2021; Unified Social Credit Code (USCC)
 Unified Social Credit Code (USCC)                   CHINA NUCLEAR ENGINEERING                              91110000710929113P (China) [CMIC-
 91110000710924910P (China) [CMIC-                    CORPORATION LIMITED (a.k.a. CHINA                     EO13959].
 EO13959].                                            NATIONAL ENGINEERING &                               CHINA SHIPBUILDING CORPORATION (a.k.a.
CHINA NORTH INDUSTRIES GROUP                          CONSTRUCTION CORPORATION LIMITED;                     CHINA STATE SHIPBUILDING
 CORPORATION LIMITED (a.k.a. CHINA                    a.k.a. CHINA NUCLEAR ENGINEERING &                    CORPORATION; a.k.a. CHINA STATE
 NORTH INDUSTRIES GROUP CO. LTD; a.k.a.               CONSTRUCTION CORP LTD; a.k.a. "CNEC";                 SHIPBUILDING CORPORATION CO. LTD;
 CHINA NORTH INDUSTRIES GROUP                         a.k.a. "CNECC"), No. 12 Chegongzhuang                 a.k.a. CHINA STATE SHIPBUILDING
 CORPORATION; a.k.a. NORINCO; a.k.a.                  Avenue, Xicheng District, Beijing 100037,             CORPORATION LIMITED; a.k.a. "CSC"; a.k.a.


December 16, 2021                                                                                                                                             -8-
              Case 4:25-cv-04075-HSG                       Document 37-6                  Filed 05/28/25                   Page 10 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 "CSSC"), No. 1, Pudong Avenue, Pilot Free        Electronics Company Limited; ISIN                     Code (USCC) 911306007109266097 (China)
 Trade Zone, Pudong New District, Shanghai        CNE000000N30; Target Type Public Company;             [CMIC-EO13959].
 200135, China; Issuer Name China State           Effective Date (CMIC) 02 Aug 2021;                   CHINA SOUTH INDUSTRIES GROUP CO., LTD.
 Shipbuilding Corporation; alt. Issuer Name       Purchase/Sales For Divestment Date (CMIC) 03          (a.k.a. CHINA SOUTH INDUSTRIES GROUP
 China State Shipbuilding Corporation Co. Ltd;    Jun 2022; Listing Date (CMIC) 03 Jun 2021;            CORPORATION; a.k.a. "CSGC"; a.k.a.
 ISIN CND100005C60; alt. ISIN                     Unified Social Credit Code (USCC)                     "CSIGC"), No. 46, Sanlihe Road, Xicheng
 CND10000KTB6; alt. ISIN CND10000KT93; alt.       91110000224344507P (China) [CMIC-                     District, Beijing 100032, China; No. 10 Yard,
 ISIN CND100005MX3; alt. ISIN                     EO13959].                                             Chedaogou, Haidian District, Beijing 100089,
 CND100005MX3; alt. ISIN CND10000LD58; alt.      CHINA SHIPBUILDING INDUSTRY GROUP                      China; Issuer Name China South Industries
 ISIN CND10000LLH8; Target Type Private           POWER (a.k.a. CHINA SHIPBUILDING                      Group Co., Ltd.; alt. Issuer Name China South
 Company; Effective Date (CMIC) 02 Aug 2021;      INDUSTRY GROUP POWER CO LTD; a.k.a.                   Industries Group Corporation; ISIN
 Purchase/Sales For Divestment Date (CMIC) 03     CHINA SHIPBUILDING INDUSTRY GROUP                     CND10000KTG5; alt. ISIN CND10000K5V9; alt.
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;       POWER COMPANY LIMITED; a.k.a. CSIC                    ISIN CND10000KTF7; alt. ISIN
 Unified Social Credit Code (USCC)                POWER; f.k.a. FENGFAN CO., LTD.; a.k.a.               CND10000GGC9; alt. ISIN CND10000K0B2;
 91310000710924478P (China) [CMIC-                "CSICP"), 72, Kunminghu South Road, Haidian           alt. ISIN CND10000GGD7; alt. ISIN
 EO13959].                                        District, Beijing 100097, China; Equity Ticker        CND10000KTD2; alt. ISIN CND10000K5W7;
CHINA SHIPBUILDING INDUSTRY CO LTD                600482 CN; Issuer Name China Shipbuilding             alt. ISIN CND10001TRP9; alt. ISIN
 (a.k.a. CHINA SHIPBUILDING INDUSTRY              Industry Group Power; ISIN CNE000001KB1;              CND10001TRQ7; Target Type Private
 COMPANY LIMITED; a.k.a. "CSICL"), 72             Target Type Public Company; Effective Date            Company; Effective Date (CMIC) 02 Aug 2021;
 Kunminghu South Road, Haidian District,          (CMIC) 02 Aug 2021; Purchase/Sales For                Purchase/Sales For Divestment Date (CMIC) 03
 Beijing 100097, China; Equity Ticker 601989      Divestment Date (CMIC) 03 Jun 2022; Listing           Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 CN; Issuer Name CHINA SHIPBUILDING               Date (CMIC) 03 Jun 2021; Unified Social Credit        Unified Social Credit Code (USCC)
 INDUSTRY COMPANY LIMITED; ISIN                   Code (USCC) 911306007109266097 (China)                91110000710924929L (China) [CMIC-
 CNE100000J75; Target Type Public Company;        [CMIC-EO13959].                                       EO13959].
 Effective Date (CMIC) 02 Aug 2021;              CHINA SHIPBUILDING INDUSTRY GROUP                     CHINA SOUTH INDUSTRIES GROUP
 Purchase/Sales For Divestment Date (CMIC) 03     POWER CO LTD (a.k.a. CHINA                            CORPORATION (a.k.a. CHINA SOUTH
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;       SHIPBUILDING INDUSTRY GROUP POWER;                    INDUSTRIES GROUP CO., LTD.; a.k.a.
 Unified Social Credit Code (USCC)                a.k.a. CHINA SHIPBUILDING INDUSTRY                    "CSGC"; a.k.a. "CSIGC"), No. 46, Sanlihe
 91110000710935329H (China) [CMIC-                GROUP POWER COMPANY LIMITED; a.k.a.                   Road, Xicheng District, Beijing 100032, China;
 EO13959].                                        CSIC POWER; f.k.a. FENGFAN CO., LTD.;                 No. 10 Yard, Chedaogou, Haidian District,
CHINA SHIPBUILDING INDUSTRY COMPANY               a.k.a. "CSICP"), 72, Kunminghu South Road,            Beijing 100089, China; Issuer Name China
 LIMITED (a.k.a. CHINA SHIPBUILDING               Haidian District, Beijing 100097, China; Equity       South Industries Group Co., Ltd.; alt. Issuer
 INDUSTRY CO LTD; a.k.a. "CSICL"), 72             Ticker 600482 CN; Issuer Name China                   Name China South Industries Group
 Kunminghu South Road, Haidian District,          Shipbuilding Industry Group Power; ISIN               Corporation; ISIN CND10000KTG5; alt. ISIN
 Beijing 100097, China; Equity Ticker 601989      CNE000001KB1; Target Type Public Company;             CND10000K5V9; alt. ISIN CND10000KTF7; alt.
 CN; Issuer Name CHINA SHIPBUILDING               Effective Date (CMIC) 02 Aug 2021;                    ISIN CND10000GGC9; alt. ISIN
 INDUSTRY COMPANY LIMITED; ISIN                   Purchase/Sales For Divestment Date (CMIC) 03          CND10000K0B2; alt. ISIN CND10000GGD7;
 CNE100000J75; Target Type Public Company;        Jun 2022; Listing Date (CMIC) 03 Jun 2021;            alt. ISIN CND10000KTD2; alt. ISIN
 Effective Date (CMIC) 02 Aug 2021;               Unified Social Credit Code (USCC)                     CND10000K5W7; alt. ISIN CND10001TRP9;
 Purchase/Sales For Divestment Date (CMIC) 03     911306007109266097 (China) [CMIC-                     alt. ISIN CND10001TRQ7; Target Type Private
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;       EO13959].                                             Company; Effective Date (CMIC) 02 Aug 2021;
 Unified Social Credit Code (USCC)               CHINA SHIPBUILDING INDUSTRY GROUP                      Purchase/Sales For Divestment Date (CMIC) 03
 91110000710935329H (China) [CMIC-                POWER COMPANY LIMITED (a.k.a. CHINA                   Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 EO13959].                                        SHIPBUILDING INDUSTRY GROUP POWER;                    Unified Social Credit Code (USCC)
CHINA SHIPBUILDING INDUSTRY GROUP                 a.k.a. CHINA SHIPBUILDING INDUSTRY                    91110000710924929L (China) [CMIC-
 MARINE DEFENSE AND INFORMATION                   GROUP POWER CO LTD; a.k.a. CSIC                       EO13959].
 CONFRONTATION CO., LTD. (f.k.a. CEC              POWER; f.k.a. FENGFAN CO., LTD.; a.k.a.              CHINA SPACESAT (a.k.a. CHINA SPACESAT
 CORECAST CORPORATION LIMITED; a.k.a.             "CSICP"), 72, Kunminghu South Road, Haidian           CO., LTD.), Shenzhou Technology Mansion,
 CHINA MARINE INFORMATION                         District, Beijing 100097, China; Equity Ticker        12th Floor, 31, Zhongguancun South Avenue,
 ELECTRONICS CO LTD; a.k.a. CHINA                 600482 CN; Issuer Name China Shipbuilding             Beijing 100081, China; 12F Shenzhou Building,
 MARINE INFORMATION ELECTRONICS                   Industry Group Power; ISIN CNE000001KB1;              31 Zhongguanchun South Street, Haidian
 COMPANY LIMITED), 4F Zhongshangxin               Target Type Public Company; Effective Date            District, Beijing 100081, China; Equity Ticker
 Mansion 34 Xueyuan South Road, Beijing           (CMIC) 02 Aug 2021; Purchase/Sales For                600118 CN; Issuer Name China Spacesat Co.,
 100082, China; Equity Ticker 600764 CN;          Divestment Date (CMIC) 03 Jun 2022; Listing           Ltd.; ISIN CNE000000SM3; Target Type Public
 Issuer Name China Marine Information             Date (CMIC) 03 Jun 2021; Unified Social Credit        Company; Effective Date (CMIC) 02 Aug 2021;


December 16, 2021                                                                                                                                         -9-
              Case 4:25-cv-04075-HSG                        Document 37-6                   Filed 05/28/25                   Page 11 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                      Non-SDN Chinese Military-Industrial Complex Companies List




 Purchase/Sales For Divestment Date (CMIC) 03      alt. ISIN CND10000LD58; alt. ISIN                      TELECOMMUNICATIONS CORPORATION),
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        CND10000LLH8; Target Type Private                      31 Jinrong Street, Xicheng District, Beijing
 Unified Social Credit Code (USCC)                 Company; Effective Date (CMIC) 02 Aug 2021;            100033, China; Target Type Private Company;
 911100001000274544 (China) [CMIC-                 Purchase/Sales For Divestment Date (CMIC) 03           Effective Date (CMIC) 02 Aug 2021;
 EO13959].                                         Jun 2022; Listing Date (CMIC) 03 Jun 2021;             Purchase/Sales For Divestment Date (CMIC) 03
CHINA SPACESAT CO., LTD. (a.k.a. CHINA             Unified Social Credit Code (USCC)                      Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 SPACESAT), Shenzhou Technology Mansion,           91310000710924478P (China) [CMIC-                      Unified Social Credit Code (USCC)
 12th Floor, 31, Zhongguancun South Avenue,        EO13959].                                              91110000100017707H (China) [CMIC-
 Beijing 100081, China; 12F Shenzhou Building,    CHINA STATE SHIPBUILDING CORPORATION                    EO13959].
 31 Zhongguanchun South Street, Haidian            LIMITED (a.k.a. CHINA SHIPBUILDING                    CHINA TELECOM CO., LTD (a.k.a. CHINA
 District, Beijing 100081, China; Equity Ticker    CORPORATION; a.k.a. CHINA STATE                        TELECOM; a.k.a. CHINA TELECOM CORP
 600118 CN; Issuer Name China Spacesat Co.,        SHIPBUILDING CORPORATION; a.k.a. CHINA                 LTD; a.k.a. CHINA TELECOM CORPORATION
 Ltd.; ISIN CNE000000SM3; Target Type Public       STATE SHIPBUILDING CORPORATION CO.                     LIMITED), 31 Jinrong Street, Xicheng District,
 Company; Effective Date (CMIC) 02 Aug 2021;       LTD; a.k.a. "CSC"; a.k.a. "CSSC"), No. 1,              Beijing 100033, China; Equity Ticker CHA US;
 Purchase/Sales For Divestment Date (CMIC) 03      Pudong Avenue, Pilot Free Trade Zone,                  alt. Equity Ticker CHA RU; alt. Equity Ticker
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        Pudong New District, Shanghai 200135, China;           ZCHA DE; alt. Equity Ticker CHA AR; alt. Equity
 Unified Social Credit Code (USCC)                 Issuer Name China State Shipbuilding                   Ticker K3ED SG; alt. Equity Ticker 0728 HK; alt.
 911100001000274544 (China) [CMIC-                 Corporation; alt. Issuer Name China State              Equity Ticker ZCH DE; Issuer Name China
 EO13959].                                         Shipbuilding Corporation Co. Ltd; ISIN                 Telecom Corporation Limited; alt. Issuer Name
CHINA STATE SHIPBUILDING CORPORATION               CND100005C60; alt. ISIN CND10000KTB6; alt.             China Telecom Corp Ltd; alt. Issuer Name
 (a.k.a. CHINA SHIPBUILDING                        ISIN CND10000KT93; alt. ISIN                           China Telecom Co., Ltd; alt. Issuer Name China
 CORPORATION; a.k.a. CHINA STATE                   CND100005MX3; alt. ISIN CND100005MX3;                  Telecom Corporation Limited.Co.Ltd; ISIN
 SHIPBUILDING CORPORATION CO. LTD;                 alt. ISIN CND10000LD58; alt. ISIN                      US1694261033; alt. ISIN CNE1000002V2; alt.
 a.k.a. CHINA STATE SHIPBUILDING                   CND10000LLH8; Target Type Private                      ISIN CND100020NC4; alt. ISIN
 CORPORATION LIMITED; a.k.a. "CSC"; a.k.a.         Company; Effective Date (CMIC) 02 Aug 2021;            CND1000248G3; alt. ISIN CND10003ND87;
 "CSSC"), No. 1, Pudong Avenue, Pilot Free         Purchase/Sales For Divestment Date (CMIC) 03           Target Type Public Company; Effective Date
 Trade Zone, Pudong New District, Shanghai         Jun 2022; Listing Date (CMIC) 03 Jun 2021;             (CMIC) 02 Aug 2021; Purchase/Sales For
 200135, China; Issuer Name China State            Unified Social Credit Code (USCC)                      Divestment Date (CMIC) 03 Jun 2022; Listing
 Shipbuilding Corporation; alt. Issuer Name        91310000710924478P (China) [CMIC-                      Date (CMIC) 03 Jun 2021; Unified Social Credit
 China State Shipbuilding Corporation Co. Ltd;     EO13959].                                              Code (USCC) 9111000071093019X7 (China)
 ISIN CND100005C60; alt. ISIN                     CHINA TELECOM (a.k.a. CHINA TELECOM                     [CMIC-EO13959] (Linked To: CHINA
 CND10000KTB6; alt. ISIN CND10000KT93; alt.        CO., LTD; a.k.a. CHINA TELECOM CORP LTD;               TELECOMMUNICATIONS CORPORATION).
 ISIN CND100005MX3; alt. ISIN                      a.k.a. CHINA TELECOM CORPORATION                      CHINA TELECOM CORP LTD (a.k.a. CHINA
 CND100005MX3; alt. ISIN CND10000LD58; alt.        LIMITED), 31 Jinrong Street, Xicheng District,         TELECOM; a.k.a. CHINA TELECOM CO., LTD;
 ISIN CND10000LLH8; Target Type Private            Beijing 100033, China; Equity Ticker CHA US;           a.k.a. CHINA TELECOM CORPORATION
 Company; Effective Date (CMIC) 02 Aug 2021;       alt. Equity Ticker CHA RU; alt. Equity Ticker          LIMITED), 31 Jinrong Street, Xicheng District,
 Purchase/Sales For Divestment Date (CMIC) 03      ZCHA DE; alt. Equity Ticker CHA AR; alt. Equity        Beijing 100033, China; Equity Ticker CHA US;
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        Ticker K3ED SG; alt. Equity Ticker 0728 HK; alt.       alt. Equity Ticker CHA RU; alt. Equity Ticker
 Unified Social Credit Code (USCC)                 Equity Ticker ZCH DE; Issuer Name China                ZCHA DE; alt. Equity Ticker CHA AR; alt. Equity
 91310000710924478P (China) [CMIC-                 Telecom Corporation Limited; alt. Issuer Name          Ticker K3ED SG; alt. Equity Ticker 0728 HK; alt.
 EO13959].                                         China Telecom Corp Ltd; alt. Issuer Name               Equity Ticker ZCH DE; Issuer Name China
CHINA STATE SHIPBUILDING CORPORATION               China Telecom Co., Ltd; alt. Issuer Name China         Telecom Corporation Limited; alt. Issuer Name
 CO. LTD (a.k.a. CHINA SHIPBUILDING                Telecom Corporation Limited.Co.Ltd; ISIN               China Telecom Corp Ltd; alt. Issuer Name
 CORPORATION; a.k.a. CHINA STATE                   US1694261033; alt. ISIN CNE1000002V2; alt.             China Telecom Co., Ltd; alt. Issuer Name China
 SHIPBUILDING CORPORATION; a.k.a. CHINA            ISIN CND100020NC4; alt. ISIN                           Telecom Corporation Limited.Co.Ltd; ISIN
 STATE SHIPBUILDING CORPORATION                    CND1000248G3; alt. ISIN CND10003ND87;                  US1694261033; alt. ISIN CNE1000002V2; alt.
 LIMITED; a.k.a. "CSC"; a.k.a. "CSSC"), No. 1,     Target Type Public Company; Effective Date             ISIN CND100020NC4; alt. ISIN
 Pudong Avenue, Pilot Free Trade Zone,             (CMIC) 02 Aug 2021; Purchase/Sales For                 CND1000248G3; alt. ISIN CND10003ND87;
 Pudong New District, Shanghai 200135, China;      Divestment Date (CMIC) 03 Jun 2022; Listing            Target Type Public Company; Effective Date
 Issuer Name China State Shipbuilding              Date (CMIC) 03 Jun 2021; Unified Social Credit         (CMIC) 02 Aug 2021; Purchase/Sales For
 Corporation; alt. Issuer Name China State         Code (USCC) 9111000071093019X7 (China)                 Divestment Date (CMIC) 03 Jun 2022; Listing
 Shipbuilding Corporation Co. Ltd; ISIN            [CMIC-EO13959] (Linked To: CHINA                       Date (CMIC) 03 Jun 2021; Unified Social Credit
 CND100005C60; alt. ISIN CND10000KTB6; alt.        TELECOMMUNICATIONS CORPORATION).                       Code (USCC) 9111000071093019X7 (China)
 ISIN CND10000KT93; alt. ISIN                     CHINA TELECOM (a.k.a. CHINA TELECOM                     [CMIC-EO13959] (Linked To: CHINA
 CND100005MX3; alt. ISIN CND100005MX3;             GROUP CO., LTD.; a.k.a. CHINA                          TELECOMMUNICATIONS CORPORATION).


December 16, 2021                                                                                                                                          - 10 -
              Case 4:25-cv-04075-HSG                          Document 37-6                  Filed 05/28/25                   Page 12 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                       Non-SDN Chinese Military-Industrial Complex Companies List




CHINA TELECOM CORPORATION LIMITED                    Jun 2022; Listing Date (CMIC) 03 Jun 2021;            Beijing 100033, China; Target Type Private
 (a.k.a. CHINA TELECOM; a.k.a. CHINA                 Unified Social Credit Code (USCC)                     Company; Effective Date (CMIC) 02 Aug 2021;
 TELECOM CO., LTD; a.k.a. CHINA TELECOM              91110000MA001HYK9X (China) [CMIC-                     Purchase/Sales For Divestment Date (CMIC) 03
 CORP LTD), 31 Jinrong Street, Xicheng District,     EO13959].                                             Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Beijing 100033, China; Equity Ticker CHA US;       CHINA UNICOM (HONG KONG) LIMITED (f.k.a.               Unified Social Credit Code (USCC)
 alt. Equity Ticker CHA RU; alt. Equity Ticker       CHINA UNICOM LIMITED), 75th Floor, The                91110000MA001HYK9X (China) [CMIC-
 ZCHA DE; alt. Equity Ticker CHA AR; alt. Equity     Center, 99 Queen's Road Central, Hong Kong,           EO13959].
 Ticker K3ED SG; alt. Equity Ticker 0728 HK; alt.    China; Equity Ticker CHU US; alt. Equity Ticker      CHINA UNITED TELECOMMUNICATIONS
 Equity Ticker ZCH DE; Issuer Name China             762 HK; alt. Equity Ticker XCIA DE; alt. Equity       CORPORATION (a.k.a. CHINA UNICOM; a.k.a.
 Telecom Corporation Limited; alt. Issuer Name       Ticker K3ID SG; alt. Equity Ticker XCI DE;            CHINA UNITED NETWORK
 China Telecom Corp Ltd; alt. Issuer Name            Issuer Name China Unicom (Hong Kong)                  COMMUNICATIONS GROUP CO., LTD.; a.k.a.
 China Telecom Co., Ltd; alt. Issuer Name China      Limited; ISIN US16945R1041; alt. ISIN                 CHINA UNITED NETWORK
 Telecom Corporation Limited.Co.Ltd; ISIN            HK0000049939; Target Type Public Company;             COMMUNICATIONS GROUP COMPANY
 US1694261033; alt. ISIN CNE1000002V2; alt.          Effective Date (CMIC) 02 Aug 2021;                    LIMITED), No. 21, Financial Street, Xicheng
 ISIN CND100020NC4; alt. ISIN                        Purchase/Sales For Divestment Date (CMIC) 03          District, Beijing 100033, China; Target Type
 CND1000248G3; alt. ISIN CND10003ND87;               Jun 2022; Listing Date (CMIC) 03 Jun 2021             Private Company; Effective Date (CMIC) 02
 Target Type Public Company; Effective Date          [CMIC-EO13959] (Linked To: CHINA UNITED               Aug 2021; Purchase/Sales For Divestment Date
 (CMIC) 02 Aug 2021; Purchase/Sales For              NETWORK COMMUNICATIONS GROUP CO.,                     (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 Divestment Date (CMIC) 03 Jun 2022; Listing         LTD.).                                                Jun 2021; Unified Social Credit Code (USCC)
 Date (CMIC) 03 Jun 2021; Unified Social Credit     CHINA UNICOM LIMITED (a.k.a. CHINA                     91110000MA001HYK9X (China) [CMIC-
 Code (USCC) 9111000071093019X7 (China)              UNICOM (HONG KONG) LIMITED), 75th Floor,              EO13959].
 [CMIC-EO13959] (Linked To: CHINA                    The Center, 99 Queen's Road Central, Hong            CLOUDWALK TECHNOLOGY CO., LTD.
 TELECOMMUNICATIONS CORPORATION).                    Kong, China; Equity Ticker CHU US; alt. Equity        (Chinese Simplified:
CHINA TELECOM GROUP CO., LTD. (a.k.a.                Ticker 762 HK; alt. Equity Ticker XCIA DE; alt.       云从科技集团股份有限公司) (a.k.a.
 CHINA TELECOM; a.k.a. CHINA                         Equity Ticker K3ID SG; alt. Equity Ticker XCI         "CLOUDWALK"), Room 501, No. 37, Jinlong
 TELECOMMUNICATIONS CORPORATION),                    DE; Issuer Name China Unicom (Hong Kong)              Road, Nansha District, Guangzhou, Guangdong
 31 Jinrong Street, Xicheng District, Beijing        Limited; ISIN US16945R1041; alt. ISIN                 511457, China; Building 11, Zhangjiang Artificial
 100033, China; Target Type Private Company;         HK0000049939; Target Type Public Company;             Intelligence Island, Chuanhe Road, Pudong
 Effective Date (CMIC) 02 Aug 2021;                  Effective Date (CMIC) 02 Aug 2021;                    New Area, Shanghai, China; Effective Date
 Purchase/Sales For Divestment Date (CMIC) 03        Purchase/Sales For Divestment Date (CMIC) 03          (CMIC) 14 Feb 2022; Purchase/Sales For
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;          Jun 2022; Listing Date (CMIC) 03 Jun 2021             Divestment Date (CMIC) 16 Dec 2022; Listing
 Unified Social Credit Code (USCC)                   [CMIC-EO13959] (Linked To: CHINA UNITED               Date (CMIC) 16 Dec 2021; Unified Social Credit
 91110000100017707H (China) [CMIC-                   NETWORK COMMUNICATIONS GROUP CO.,                     Code (USCC) 914401153314442716 (China)
 EO13959].                                           LTD.).                                                [CMIC-EO13959].
CHINA TELECOMMUNICATIONS                            CHINA UNITED NETWORK                                  CNOOC (a.k.a. CHINA NATIONAL OFFSHORE
 CORPORATION (a.k.a. CHINA TELECOM;                  COMMUNICATIONS GROUP CO., LTD. (a.k.a.                OIL CORP.; a.k.a. CHINA NATIONAL
 a.k.a. CHINA TELECOM GROUP CO., LTD.),              CHINA UNICOM; a.k.a. CHINA UNITED                     OFFSHORE OIL CORPORATION), No. 25,
 31 Jinrong Street, Xicheng District, Beijing        NETWORK COMMUNICATIONS GROUP                          Chaoyangmen North Street, Dongcheng
 100033, China; Target Type Private Company;         COMPANY LIMITED; f.k.a. CHINA UNITED                  District, Beijing 100010, China; Target Type
 Effective Date (CMIC) 02 Aug 2021;                  TELECOMMUNICATIONS CORPORATION),                      State-Owned Enterprise; Effective Date (CMIC)
 Purchase/Sales For Divestment Date (CMIC) 03        No. 21, Financial Street, Xicheng District,           02 Aug 2021; Purchase/Sales For Divestment
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;          Beijing 100033, China; Target Type Private            Date (CMIC) 03 Jun 2022; Listing Date (CMIC)
 Unified Social Credit Code (USCC)                   Company; Effective Date (CMIC) 02 Aug 2021;           03 Jun 2021; Legal Entity Number
 91110000100017707H (China) [CMIC-                   Purchase/Sales For Divestment Date (CMIC) 03          300300AY5BEBCYDR2F31; Unified Social
 EO13959].                                           Jun 2022; Listing Date (CMIC) 03 Jun 2021;            Credit Code (USCC) 91110000100001043E
CHINA UNICOM (a.k.a. CHINA UNITED                    Unified Social Credit Code (USCC)                     (China) [CMIC-EO13959].
 NETWORK COMMUNICATIONS GROUP CO.,                   91110000MA001HYK9X (China) [CMIC-                    CNOOC LIMITED (a.k.a. CNOOC LTD), Bank of
 LTD.; a.k.a. CHINA UNITED NETWORK                   EO13959].                                             China Tower, 65th Floor, 1, Garden Road, Hong
 COMMUNICATIONS GROUP COMPANY                       CHINA UNITED NETWORK                                   Kong, China; Equity Ticker 00883 HK; alt.
 LIMITED; f.k.a. CHINA UNITED                        COMMUNICATIONS GROUP COMPANY                          Equity Ticker CNU CA; alt. Equity Ticker NC2B
 TELECOMMUNICATIONS CORPORATION),                    LIMITED (a.k.a. CHINA UNICOM; a.k.a. CHINA            DE; alt. Equity Ticker CEO US; Issuer Name
 No. 21, Financial Street, Xicheng District,         UNITED NETWORK COMMUNICATIONS                         CNOOC Limited; alt. Issuer Name CNOOC Ltd;
 Beijing 100033, China; Target Type Private          GROUP CO., LTD.; f.k.a. CHINA UNITED                  ISIN HK0883013259; alt. ISIN US1261321095;
 Company; Effective Date (CMIC) 02 Aug 2021;         TELECOMMUNICATIONS CORPORATION),                      alt. ISIN HK2998013240; alt. ISIN
 Purchase/Sales For Divestment Date (CMIC) 03        No. 21, Financial Street, Xicheng District,           BRC1EODR004; alt. ISIN HK0883013259;


December 16, 2021                                                                                                                                           - 11 -
              Case 4:25-cv-04075-HSG                       Document 37-6                 Filed 05/28/25                   Page 13 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                   Non-SDN Chinese Military-Industrial Complex Companies List




 Target Type Public Company; Effective Date       Nanyang 473003, China; Equity Ticker 002189         DONGAN HEIBAO CO., LTD. (a.k.a. AVIC
 (CMIC) 02 Aug 2021; Purchase/Sales For           CN; Issuer Name Costar Group Co; ISIN                SHENYANG AIRCRAFT COMPANY LIMITED;
 Divestment Date (CMIC) 03 Jun 2022; Listing      CNE100000882; Target Type Public Company;            a.k.a. SHENYANG AIRCRAFT CO. LTD.), 1,
 Date (CMIC) 03 Jun 2021; Company Number          Effective Date (CMIC) 02 Aug 2021;                   Lingbei Street, Huanggu District, Shenyang
 0685974 (Hong Kong); Legal Entity Number         Purchase/Sales For Divestment Date (CMIC) 03         110850, China; Equity Ticker 600760 CN;
 549300XIVJCBIGMRUD48 [CMIC-EO13959]              Jun 2022; Listing Date (CMIC) 03 Jun 2021;           Issuer Name Dongan Heibao Co. Ltd.; ISIN
 (Linked To: CHINA NATIONAL OFFSHORE              Unified Social Credit Code (USCC)                    CNE000000MH6; Target Type Public Company;
 OIL CORPORATION).                                91410000615301803D (China) [CMIC-                    Effective Date (CMIC) 02 Aug 2021;
CNOOC LTD (a.k.a. CNOOC LIMITED), Bank of         EO13959].                                            Purchase/Sales For Divestment Date (CMIC) 03
 China Tower, 65th Floor, 1, Garden Road, Hong   CSIC POWER (a.k.a. CHINA SHIPBUILDING                 Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Kong, China; Equity Ticker 00883 HK; alt.        INDUSTRY GROUP POWER; a.k.a. CHINA                   Unified Social Credit Code (USCC)
 Equity Ticker CNU CA; alt. Equity Ticker NC2B    SHIPBUILDING INDUSTRY GROUP POWER                    9137000016309489X2 (China) [CMIC-
 DE; alt. Equity Ticker CEO US; Issuer Name       CO LTD; a.k.a. CHINA SHIPBUILDING                    EO13959].
 CNOOC Limited; alt. Issuer Name CNOOC Ltd;       INDUSTRY GROUP POWER COMPANY                        FENGFAN CO., LTD. (a.k.a. CHINA
 ISIN HK0883013259; alt. ISIN US1261321095;       LIMITED; f.k.a. FENGFAN CO., LTD.; a.k.a.            SHIPBUILDING INDUSTRY GROUP POWER;
 alt. ISIN HK2998013240; alt. ISIN                "CSICP"), 72, Kunminghu South Road, Haidian          a.k.a. CHINA SHIPBUILDING INDUSTRY
 BRC1EODR004; alt. ISIN HK0883013259;             District, Beijing 100097, China; Equity Ticker       GROUP POWER CO LTD; a.k.a. CHINA
 Target Type Public Company; Effective Date       600482 CN; Issuer Name China Shipbuilding            SHIPBUILDING INDUSTRY GROUP POWER
 (CMIC) 02 Aug 2021; Purchase/Sales For           Industry Group Power; ISIN CNE000001KB1;             COMPANY LIMITED; a.k.a. CSIC POWER;
 Divestment Date (CMIC) 03 Jun 2022; Listing      Target Type Public Company; Effective Date           a.k.a. "CSICP"), 72, Kunminghu South Road,
 Date (CMIC) 03 Jun 2021; Company Number          (CMIC) 02 Aug 2021; Purchase/Sales For               Haidian District, Beijing 100097, China; Equity
 0685974 (Hong Kong); Legal Entity Number         Divestment Date (CMIC) 03 Jun 2022; Listing          Ticker 600482 CN; Issuer Name China
 549300XIVJCBIGMRUD48 [CMIC-EO13959]              Date (CMIC) 03 Jun 2021; Unified Social Credit       Shipbuilding Industry Group Power; ISIN
 (Linked To: CHINA NATIONAL OFFSHORE              Code (USCC) 911306007109266097 (China)               CNE000001KB1; Target Type Public Company;
 OIL CORPORATION).                                [CMIC-EO13959].                                      Effective Date (CMIC) 02 Aug 2021;
COMEC (a.k.a. CSSC OFFSHORE & MARINE             CSSC OFFSHORE & MARINE ENGINEERING                    Purchase/Sales For Divestment Date (CMIC) 03
 ENGINEERING (GROUP) COMPANY                      (GROUP) COMPANY LIMITED (a.k.a. COMEC;               Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 LIMITED; f.k.a. GUANGZHOU SHIPYARD               f.k.a. GUANGZHOU SHIPYARD                            Unified Social Credit Code (USCC)
 INTERNATIONAL COMPANY LIMITED), 40,              INTERNATIONAL COMPANY LIMITED), 40,                  911306007109266097 (China) [CMIC-
 South Fang Cun Road, Liwan District,             South Fang Cun Road, Liwan District,                 EO13959].
 Guangzhou 510382, China; Equity Ticker 00317     Guangzhou 510382, China; Equity Ticker 00317        FIRMACO (f.k.a. BAOTOU BEIFANG
 HK; alt. Equity Ticker 600685 CN; Issuer Name    HK; alt. Equity Ticker 600685 CN; Issuer Name        CHUANGYE COMPANY LIMITED; a.k.a.
 CSSC Offshore & Marine Engineering (Group)       CSSC Offshore & Marine Engineering (Group)           INNER MONGOLIA FIRST MACHINERY
 Company Limited; ISIN CNE100000395; Target       Company Limited; ISIN CNE100000395; Target           GROUP CO., LTD.), Minzhu Road, Qingshan
 Type Public Company; Effective Date (CMIC)       Type Public Company; Effective Date (CMIC)           District, Baotou 014032, China; Equity Ticker
 02 Aug 2021; Purchase/Sales For Divestment       02 Aug 2021; Purchase/Sales For Divestment           600967 CN; Issuer Name Baotou Beifang
 Date (CMIC) 03 Jun 2022; Listing Date (CMIC)     Date (CMIC) 03 Jun 2022; Listing Date (CMIC)         Chuangye Co., Ltd.; ISIN CNE000001HP7;
 03 Jun 2021; Unified Social Credit Code          03 Jun 2021; Unified Social Credit Code              Target Type Public Company; Effective Date
 (USCC) 91440101190499390U (China) [CMIC-         (USCC) 91440101190499390U (China) [CMIC-             (CMIC) 02 Aug 2021; Purchase/Sales For
 EO13959].                                        EO13959].                                            Divestment Date (CMIC) 03 Jun 2022; Listing
COSTAR GROUP CO (a.k.a. COSTAR GROUP             DAWNING INFORMATION INDUSTRY CO., LTD                 Date (CMIC) 03 Jun 2021; Unified Social Credit
 CO., LTD.; f.k.a. LIDA OPTICAL &                 (Chinese Simplified:                                 Code (USCC) 91150000720180740Y (China)
 ELECTRONIC CO., LTD.), 508, Gongye Road,         曙光信息产业股份有限公司) (a.k.a. "SUGON"),                      [CMIC-EO13959].
 Nanyang 473003, China; Equity Ticker 002189      Zhongguancun Software Park, Sugon Building          FUJIAN TORCH ELECTRON TECHNOLOGY
 CN; Issuer Name Costar Group Co; ISIN            36, 8, Dongbeiwang West Road, Haidian                CO., LTD. (a.k.a. TORCH ELECTRON), Hi-
 CNE100000882; Target Type Public Company;        District, Beijing 100193, China; Equity Ticker       Tech Industrial Park, Jiangnan Park, 4, Zihua
 Effective Date (CMIC) 02 Aug 2021;               603019CN; Issuer Name Sugon Information              Road, Licheng district, Quanzhou 362000,
 Purchase/Sales For Divestment Date (CMIC) 03     Industry Co., Ltd.; ISIN CNE100001TW7;               China; Equity Ticker 603678 CN; Issuer Name
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;       Effective Date (CMIC) 14 Feb 2022;                   Fujian Torch Electron Technology Co., Ltd; ISIN
 Unified Social Credit Code (USCC)                Purchase/Sales For Divestment Date (CMIC) 16         CNE100001TY3; Target Type Public Company;
 91410000615301803D (China) [CMIC-                Dec 2022; Listing Date (CMIC) 16 Dec 2021;           Effective Date (CMIC) 02 Aug 2021;
 EO13959].                                        Unified Social Credit Code (USCC)                    Purchase/Sales For Divestment Date (CMIC) 03
COSTAR GROUP CO., LTD. (a.k.a. COSTAR             91120000783342508F (China) [CMIC-                    Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 GROUP CO; f.k.a. LIDA OPTICAL &                  EO13959].                                            Unified Social Credit Code (USCC)
 ELECTRONIC CO., LTD.), 508, Gongye Road,


December 16, 2021                                                                                                                                       - 12 -
              Case 4:25-cv-04075-HSG                        Document 37-6                 Filed 05/28/25                   Page 14 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 913500001562023628 (China) [CMIC-                GUIZHOU LIYUAN HYDRAULIC CO., LTD.                    91330000733796106P (China) [CMIC-
 EO13959].                                         (a.k.a. AVIC HEAVY MACHINERY CO., LTD.;              EO13959].
GREATWALL MILITARY (a.k.a. ANHUI GREAT             a.k.a. AVIC HEAVY MACHINERY COMPANY                 HANGZHOU HIKVISION DIGITAL
 WALL MILITARY INDUSTRY CO., LTD; a.k.a.           LIMITED; f.k.a. GUIZHOU LIYUAN                       TECHNOLOGY CO., LTD. (a.k.a. HANGZHOU
 ANHUI GREATWALL MILITARY INDUSTRY                 HYDRAULIC COMPONENTS CO., LTD.), No.                 HIKVISION DIGITAL TECHNOLOGY; a.k.a.
 CO., LTD.; a.k.a. ANHUI GREATWALL                 501, Beiya Road, Wudang District, Guiyang,           HIKVISION), 555, Qianmo Road, Binjiang
 MILITARY INDUSTRY COMPANY LIMITED;                Guizhou, China; Equity Ticker 600765 CN;             District, Hangzhou 310051, China; Equity Ticker
 a.k.a. GREATWALL MILITARY INDUSTRY),              Issuer Name Guizhou Liyuan Hydraulic                 002415 CN; Issuer Name Hangzhou Hikvision
 No. 99 Taoyuan Road, Economic Development         Components Co., Ltd.; ISIN CNE000000N22;             Digital Technology; ISIN CNE100000PM8;
 Zone, Hefei, China; Economic And                  Target Type Public Company; Effective Date           Target Type Public Company; Effective Date
 Technological Development Zone, 99 Hezhang        (CMIC) 02 Aug 2021; Purchase/Sales For               (CMIC) 02 Aug 2021; Purchase/Sales For
 Road, Hefei 230001, China; Equity Ticker          Divestment Date (CMIC) 03 Jun 2022; Listing          Divestment Date (CMIC) 03 Jun 2022; Listing
 601606 CN; Issuer Name Anhui Greatwall            Date (CMIC) 03 Jun 2021; Unified Social Credit       Date (CMIC) 03 Jun 2021; Unified Social Credit
 Military Industry Co., Ltd; ISIN CNE1000036L1;    Code (USCC) 91520000214434146R (China)               Code (USCC) 91330000733796106P (China)
 Target Type Public Company; Effective Date        [CMIC-EO13959].                                      [CMIC-EO13959].
 (CMIC) 02 Aug 2021; Purchase/Sales For           GUIZHOU LIYUAN HYDRAULIC COMPONENTS                  HIKVISION (a.k.a. HANGZHOU HIKVISION
 Divestment Date (CMIC) 03 Jun 2022; Listing       CO., LTD. (a.k.a. AVIC HEAVY MACHINERY               DIGITAL TECHNOLOGY; a.k.a. HANGZHOU
 Date (CMIC) 03 Jun 2021; Unified Social Credit    CO., LTD.; a.k.a. AVIC HEAVY MACHINERY               HIKVISION DIGITAL TECHNOLOGY CO.,
 Code (USCC) 9134000070503581XA (China)            COMPANY LIMITED; f.k.a. GUIZHOU LIYUAN               LTD.), 555, Qianmo Road, Binjiang District,
 [CMIC-EO13959].                                   HYDRAULIC CO., LTD.), No. 501, Beiya Road,           Hangzhou 310051, China; Equity Ticker 002415
GREATWALL MILITARY INDUSTRY (a.k.a.                Wudang District, Guiyang, Guizhou, China;            CN; Issuer Name Hangzhou Hikvision Digital
 ANHUI GREAT WALL MILITARY INDUSTRY                Equity Ticker 600765 CN; Issuer Name Guizhou         Technology; ISIN CNE100000PM8; Target
 CO., LTD; a.k.a. ANHUI GREATWALL                  Liyuan Hydraulic Components Co., Ltd.; ISIN          Type Public Company; Effective Date (CMIC)
 MILITARY INDUSTRY CO., LTD.; a.k.a. ANHUI         CNE000000N22; Target Type Public Company;            02 Aug 2021; Purchase/Sales For Divestment
 GREATWALL MILITARY INDUSTRY                       Effective Date (CMIC) 02 Aug 2021;                   Date (CMIC) 03 Jun 2022; Listing Date (CMIC)
 COMPANY LIMITED; a.k.a. GREATWALL                 Purchase/Sales For Divestment Date (CMIC) 03         03 Jun 2021; Unified Social Credit Code
 MILITARY), No. 99 Taoyuan Road, Economic          Jun 2022; Listing Date (CMIC) 03 Jun 2021;           (USCC) 91330000733796106P (China) [CMIC-
 Development Zone, Hefei, China; Economic          Unified Social Credit Code (USCC)                    EO13959].
 And Technological Development Zone, 99            91520000214434146R (China) [CMIC-                   HUAWEI INVESTMENT & HOLDING CO LTD
 Hezhang Road, Hefei 230001, China; Equity         EO13959].                                            (a.k.a. HUAWEI TECHNOLOGIES CO., LTD.),
 Ticker 601606 CN; Issuer Name Anhui              GUIZHOU SPACE APPLIANCE CO., LTD (a.k.a.              Huawei Headquarter Office Building, Bantian,
 Greatwall Military Industry Co., Ltd; ISIN        "SACO"), 7, Honghe Road, Xiaohe District,            Longgang District, Guangdong, Shenzhen
 CNE1000036L1; Target Type Public Company;         Guiyang 550009, China; Equity Ticker 002025          518129, China; Target Type Private Company;
 Effective Date (CMIC) 02 Aug 2021;                CN; Issuer Name Guizhou Space Appliance              Effective Date (CMIC) 02 Aug 2021;
 Purchase/Sales For Divestment Date (CMIC) 03      Co., Ltd; ISIN CNE000001KG0; alt. ISIN               Purchase/Sales For Divestment Date (CMIC) 03
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        CN000A0B7NS3; Target Type Public Company;            Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Unified Social Credit Code (USCC)                 Effective Date (CMIC) 02 Aug 2021;                   Unified Social Credit Code (USCC)
 9134000070503581XA (China) [CMIC-                 Purchase/Sales For Divestment Date (CMIC) 03         914403001922038216 (China) [CMIC-
 EO13959].                                         Jun 2022; Listing Date (CMIC) 03 Jun 2021;           EO13959].
GUANGZHOU SHIPYARD INTERNATIONAL                   Unified Social Credit Code (USCC)                   HUAWEI INVESTMENT & HOLDING CO., LTD.
 COMPANY LIMITED (a.k.a. COMEC; a.k.a.             91520000730980020A (China) [CMIC-                    (a.k.a. HUAWEI INVESTMENT AND HOLDING
 CSSC OFFSHORE & MARINE ENGINEERING                EO13959].                                            CO., LTD.), Building 1, Area B, Bantian Huawei
 (GROUP) COMPANY LIMITED), 40, South              HANGZHOU HIKVISION DIGITAL                            Base, Longgang District, Guangdong,
 Fang Cun Road, Liwan District, Guangzhou          TECHNOLOGY (a.k.a. HANGZHOU                          Shenzhen, China; Issuer Name Huawei
 510382, China; Equity Ticker 00317 HK; alt.       HIKVISION DIGITAL TECHNOLOGY CO.,                    Investment & Holding Co., Ltd.; alt. Issuer
 Equity Ticker 600685 CN; Issuer Name CSSC         LTD.; a.k.a. HIKVISION), 555, Qianmo Road,           Name Huawei Investment and Holding Co.,
 Offshore & Marine Engineering (Group)             Binjiang District, Hangzhou 310051, China;           Ltd.; ISIN CND10003D0F9; alt. ISIN
 Company Limited; ISIN CNE100000395; Target        Equity Ticker 002415 CN; Issuer Name                 CND100035KT2; alt. ISIN CND10002K3Y6; alt.
 Type Public Company; Effective Date (CMIC)        Hangzhou Hikvision Digital Technology; ISIN          ISIN CND10002J7T0; alt. ISIN CND1000336F8;
 02 Aug 2021; Purchase/Sales For Divestment        CNE100000PM8; Target Type Public Company;            alt. ISIN CND1000439R5; Target Type Private
 Date (CMIC) 03 Jun 2022; Listing Date (CMIC)      Effective Date (CMIC) 02 Aug 2021;                   Company; Effective Date (CMIC) 02 Aug 2021;
 03 Jun 2021; Unified Social Credit Code           Purchase/Sales For Divestment Date (CMIC) 03         Purchase/Sales For Divestment Date (CMIC) 03
 (USCC) 91440101190499390U (China) [CMIC-          Jun 2022; Listing Date (CMIC) 03 Jun 2021;           Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 EO13959].                                         Unified Social Credit Code (USCC)                    Unified Social Credit Code (USCC)
                                                                                                        91440300746645251H (China) [CMIC-


December 16, 2021                                                                                                                                        - 13 -
              Case 4:25-cv-04075-HSG                         Document 37-6                    Filed 05/28/25                   Page 15 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                        Non-SDN Chinese Military-Industrial Complex Companies List




  EO13959] (Linked To: HUAWEI                        Jinan, Shandong 250101, China; Target Type             Technology Co., Ltd.; ISIN CNE100002Q17;
  TECHNOLOGIES CO., LTD.).                           Private Company; Effective Date (CMIC) 02              Effective Date (CMIC) 14 Feb 2022;
HUAWEI INVESTMENT AND HOLDING CO.,                   Aug 2021; Purchase/Sales For Divestment Date           Purchase/Sales For Divestment Date (CMIC) 16
  LTD. (a.k.a. HUAWEI INVESTMENT &                   (CMIC) 03 Jun 2022; Listing Date (CMIC) 03             Dec 2022; Listing Date (CMIC) 16 Dec 2021;
  HOLDING CO., LTD.), Building 1, Area B,            Jun 2021; Unified Social Credit Code (USCC)            Unified Social Credit Code (USCC)
  Bantian Huawei Base, Longgang District,            913700001630477270 (China) [CMIC-                      916501002999341738 (China) [CMIC-
  Guangdong, Shenzhen, China; Issuer Name            EO13959].                                              EO13959].
  Huawei Investment & Holding Co., Ltd.; alt.      JIANGXI HONGDU AVIATION INDUSTRY CO.,                   LEON TECHNOLOGY COMPANY LIMITED
  Issuer Name Huawei Investment and Holding          LTD. (a.k.a. "HDAA"), P.O. Box 5001-500,               (a.k.a. LEON TECHNOLOGY CO., LTD.; a.k.a.
  Co., Ltd.; ISIN CND10003D0F9; alt. ISIN            Nanchang 330024, China; Xinxi Bridge Road              "LEON TECHNOLOGY"), High-Tech Zone,
  CND100035KT2; alt. ISIN CND10002K3Y6; alt.         Qingyunpu District, Nanchang 330024, China;            Century Pacific International Centre, 416, South
  ISIN CND10002J7T0; alt. ISIN CND1000336F8;         Equity Ticker 600316 CN; Issuer Name Jiangxi           Beijing Road, Urumqi 830000, China; Equity
  alt. ISIN CND1000439R5; Target Type Private        Hongdu Aviation Industry Co., Ltd.; ISIN               Ticker 300603 CN; Issuer Name Leon
  Company; Effective Date (CMIC) 02 Aug 2021;        CNE0000015N3; alt. ISIN CND10001KJ52; alt.             Technology Co., Ltd.; ISIN CNE100002Q17;
  Purchase/Sales For Divestment Date (CMIC) 03       ISIN CND10001KHB9; Target Type Public                  Effective Date (CMIC) 14 Feb 2022;
  Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Company; Effective Date (CMIC) 02 Aug 2021;            Purchase/Sales For Divestment Date (CMIC) 16
  Unified Social Credit Code (USCC)                  Purchase/Sales For Divestment Date (CMIC) 03           Dec 2022; Listing Date (CMIC) 16 Dec 2021;
  91440300746645251H (China) [CMIC-                  Jun 2022; Listing Date (CMIC) 03 Jun 2021;             Unified Social Credit Code (USCC)
  EO13959] (Linked To: HUAWEI                        Unified Social Credit Code (USCC)                      916501002999341738 (China) [CMIC-
  TECHNOLOGIES CO., LTD.).                           91360000705515290C (China) [CMIC-                      EO13959].
HUAWEI TECHNOLOGIES CO., LTD. (a.k.a.                EO13959].                                             LIDA OPTICAL & ELECTRONIC CO., LTD.
  HUAWEI INVESTMENT & HOLDING CO LTD),             JINGJIA MICRO (a.k.a. CHANGSHA JINGJIA                   (a.k.a. COSTAR GROUP CO; a.k.a. COSTAR
  Huawei Headquarter Office Building, Bantian,       MICROELECTRONICS CO., LTD; a.k.a.                      GROUP CO., LTD.), 508, Gongye Road,
  Longgang District, Guangdong, Shenzhen             CHANGSHA JINGJIA MICROELECTRONICS                      Nanyang 473003, China; Equity Ticker 002189
  518129, China; Target Type Private Company;        COMPANY LIMITED), No.1, Meixihu Road,                  CN; Issuer Name Costar Group Co; ISIN
  Effective Date (CMIC) 02 Aug 2021;                 Yuelu District, Changsha 410205, China; Equity         CNE100000882; Target Type Public Company;
  Purchase/Sales For Divestment Date (CMIC) 03       Ticker 300474 CN; Issuer Name Changsha                 Effective Date (CMIC) 02 Aug 2021;
  Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Jingjia Microelectronics Co., Ltd.; alt. Issuer        Purchase/Sales For Divestment Date (CMIC) 03
  Unified Social Credit Code (USCC)                  Name Changsha Jingjia Microelectronics                 Jun 2022; Listing Date (CMIC) 03 Jun 2021;
  914403001922038216 (China) [CMIC-                  Company Limited; ISIN CNE100002664; Target             Unified Social Credit Code (USCC)
  EO13959].                                          Type Public Company; Effective Date (CMIC)             91410000615301803D (China) [CMIC-
INNER MONGOLIA FIRST MACHINERY                       02 Aug 2021; Purchase/Sales For Divestment             EO13959].
  GROUP CO., LTD. (f.k.a. BAOTOU BEIFANG             Date (CMIC) 03 Jun 2022; Listing Date (CMIC)          LONG MARCH LAUNCH VEHICLE
  CHUANGYE COMPANY LIMITED; a.k.a.                   03 Jun 2021; Unified Social Credit Code                TECHNOLOGY COMPANY LIMITED (a.k.a.
  FIRMACO), Minzhu Road, Qingshan District,          (USCC) 914301007853917172 (China) [CMIC-               CHINA AEROSPACE TIMES ELECTRONICS
  Baotou 014032, China; Equity Ticker 600967         EO13959].                                              CO., LTD; a.k.a. "CATEC"), High-Technology
  CN; Issuer Name Baotou Beifang Chuangye          JONHON (a.k.a. AVIC JONHON OPTRONIC                      Industrial Zone, Economic & Technological
  Co., Ltd.; ISIN CNE000001HP7; Target Type          TECHNOLOGY CO., LTD.), No. 10, Zhoushan                Development Zone, Wuhan 430056, China;
  Public Company; Effective Date (CMIC) 02 Aug       Rd., Luoyang Area, Pilot Free Trade Zone,              Equity Ticker 600879 CN; Issuer Name China
  2021; Purchase/Sales For Divestment Date           Luoyang, Henan, China; Equity Ticker 002179            Aerospace Times Electronics Co., Ltd; ISIN
  (CMIC) 03 Jun 2022; Listing Date (CMIC) 03         CN; Issuer Name AVIC Jonhon Optronic                   CNE000000J93; alt. ISIN CND10003B821; alt.
  Jun 2021; Unified Social Credit Code (USCC)        Technology Co., Ltd.; ISIN CND10003VVT5; alt.          ISIN CND100034J27; alt. ISIN CND100037514;
  91150000720180740Y (China) [CMIC-                  ISIN CNE1000007T5; Target Type Public                  alt. ISIN CND100032457; alt. ISIN
  EO13959].                                          Company; Effective Date (CMIC) 02 Aug 2021;            CND10002R795; alt. ISIN CND10003D843; alt.
INSPUR GROUP (a.k.a. INSPUR GROUP CO.,               Purchase/Sales For Divestment Date (CMIC) 03           ISIN CND100035G37; alt. ISIN
  LTD.), No. 1036, High-Tech Inspur Road, Jinan,     Jun 2022; Listing Date (CMIC) 03 Jun 2021;             CND100037S23; alt. ISIN CND10002B3Q3; alt.
  Shandong 250101, China; Target Type Private        Unified Social Credit Code (USCC)                      ISIN CND10002T6Q6; alt. ISIN
  Company; Effective Date (CMIC) 02 Aug 2021;        914100007457748527 (China) [CMIC-                      CND100044B23; Target Type Public Company;
  Purchase/Sales For Divestment Date (CMIC) 03       EO13959].                                              Effective Date (CMIC) 02 Aug 2021;
  Jun 2022; Listing Date (CMIC) 03 Jun 2021;       LEON TECHNOLOGY CO., LTD. (a.k.a. LEON                   Purchase/Sales For Divestment Date (CMIC) 03
  Unified Social Credit Code (USCC)                  TECHNOLOGY COMPANY LIMITED; a.k.a.                     Jun 2022; Listing Date (CMIC) 03 Jun 2021;
  913700001630477270 (China) [CMIC-                  "LEON TECHNOLOGY"), High-Tech Zone,                    Unified Social Credit Code (USCC)
  EO13959].                                          Century Pacific International Centre, 416, South       91420100177716821Q (China) [CMIC-
INSPUR GROUP CO., LTD. (a.k.a. INSPUR                Beijing Road, Urumqi 830000, China; Equity             EO13959].
  GROUP), No. 1036, High-Tech Inspur Road,           Ticker 300603 CN; Issuer Name Leon


December 16, 2021                                                                                                                                            - 14 -
              Case 4:25-cv-04075-HSG                          Document 37-6                   Filed 05/28/25                   Page 16 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                        Non-SDN Chinese Military-Industrial Complex Companies List




MEGVII TECHNOLOGY LIMITED (Chinese                   Panda Electronic Co. Ltd; alt. Issuer Name            NETPOSA TECHNOLOGIES, LTD. (a.k.a.
 Simplified: 旷视科技有限公司), PO Box 309,                  Nanjing Panda Electronics Company Limited;             NETPOSA; a.k.a. NETPOSA TECHNOLOGIES
 Ugland House, Grand Cayman KY1-1104,                ISIN CNE1000003T4; alt. ISIN CN0009003921;             LIMITED), Wangjing Soho, 2nd Tower, 26th
 Cayman Islands; Block A, Raycom Infotech            alt. ISIN CNE000000NB7; alt. ISIN                      Floor, 1, Futong Avenue, Chaoyang District,
 Park, No. 2 Kexueyuan South Road, Haidian           CN0005815195; Target Type Public Company;              Beijing 100102, China; Equity Ticker 300367
 District, Beijing, China; Effective Date (CMIC)     Effective Date (CMIC) 02 Aug 2021;                     CN; Issuer Name NetPosa Technologies, Ltd.;
 14 Feb 2022; Purchase/Sales For Divestment          Purchase/Sales For Divestment Date (CMIC) 03           ISIN CNE100001S40; Effective Date (CMIC) 14
 Date (CMIC) 16 Dec 2022; Listing Date (CMIC)        Jun 2022; Listing Date (CMIC) 03 Jun 2021;             Feb 2022; Purchase/Sales For Divestment Date
 16 Dec 2021 [CMIC-EO13959].                         Unified Social Credit Code (USCC)                      (CMIC) 16 Dec 2022; Listing Date (CMIC) 16
NANJING PANDA (a.k.a. NANJING PANDA                  91320100134974572K (China) [CMIC-                      Dec 2021; Unified Social Credit Code (USCC)
 ELECTR. CO. LTD.; a.k.a. NANJING PANDA              EO13959].                                              91110000721497432T (China) [CMIC-
 ELECTRONIC CO. LTD.; a.k.a. NANJING                NANJING PANDA ELECTRONICS COMPANY                       EO13959].
 PANDA ELECTRONICS COMPANY LIMITED),                 LIMITED (a.k.a. NANJING PANDA; a.k.a.                 NORINCO (a.k.a. CHINA NORTH INDUSTRIES
 7, Jingtian Road, Nanjing 210033, China; Equity     NANJING PANDA ELECTR. CO. LTD.; a.k.a.                 GROUP CO. LTD; a.k.a. CHINA NORTH
 Ticker 600775 CN; alt. Equity Ticker 00553 HK;      NANJING PANDA ELECTRONIC CO. LTD.), 7,                 INDUSTRIES GROUP CORPORATION; a.k.a.
 alt. Equity Ticker NNJ DE; Issuer Name Nanjing      Jingtian Road, Nanjing 210033, China; Equity           CHINA NORTH INDUSTRIES GROUP
 Panda Electr. Co. Ltd.; alt. Issuer Name Nanjing    Ticker 600775 CN; alt. Equity Ticker 00553 HK;         CORPORATION LIMITED; a.k.a. NORINCO
 Panda Electronic Co. Ltd; alt. Issuer Name          alt. Equity Ticker NNJ DE; Issuer Name Nanjing         GROUP; a.k.a. "CNIGC"), No. 46, Sanlihe
 Nanjing Panda Electronics Company Limited;          Panda Electr. Co. Ltd.; alt. Issuer Name Nanjing       Road, Xicheng District, Beijing 100821, China;
 ISIN CNE1000003T4; alt. ISIN CN0009003921;          Panda Electronic Co. Ltd; alt. Issuer Name             Issuer Name China North Industries Group
 alt. ISIN CNE000000NB7; alt. ISIN                   Nanjing Panda Electronics Company Limited;             Corporation Limited; alt. Issuer Name China
 CN0005815195; Target Type Public Company;           ISIN CNE1000003T4; alt. ISIN CN0009003921;             North Industries Group Co. Ltd; ISIN
 Effective Date (CMIC) 02 Aug 2021;                  alt. ISIN CNE000000NB7; alt. ISIN                      CND10001PXG4; alt. ISIN CND10000KPW0;
 Purchase/Sales For Divestment Date (CMIC) 03        CN0005815195; Target Type Public Company;              alt. ISIN CND10000KSK9; alt. ISIN
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;          Effective Date (CMIC) 02 Aug 2021;                     CND1000133M5; Target Type Private
 Unified Social Credit Code (USCC)                   Purchase/Sales For Divestment Date (CMIC) 03           Company; Effective Date (CMIC) 02 Aug 2021;
 91320100134974572K (China) [CMIC-                   Jun 2022; Listing Date (CMIC) 03 Jun 2021;             Purchase/Sales For Divestment Date (CMIC) 03
 EO13959].                                           Unified Social Credit Code (USCC)                      Jun 2022; Listing Date (CMIC) 03 Jun 2021;
NANJING PANDA ELECTR. CO. LTD. (a.k.a.               91320100134974572K (China) [CMIC-                      Unified Social Credit Code (USCC)
 NANJING PANDA; a.k.a. NANJING PANDA                 EO13959].                                              91110000710924910P (China) [CMIC-
 ELECTRONIC CO. LTD.; a.k.a. NANJING                NETPOSA (a.k.a. NETPOSA TECHNOLOGIES                    EO13959].
 PANDA ELECTRONICS COMPANY LIMITED),                 LIMITED; a.k.a. NETPOSA TECHNOLOGIES,                 NORINCO GROUP (a.k.a. CHINA NORTH
 7, Jingtian Road, Nanjing 210033, China; Equity     LTD.), Wangjing Soho, 2nd Tower, 26th Floor,           INDUSTRIES GROUP CO. LTD; a.k.a. CHINA
 Ticker 600775 CN; alt. Equity Ticker 00553 HK;      1, Futong Avenue, Chaoyang District, Beijing           NORTH INDUSTRIES GROUP
 alt. Equity Ticker NNJ DE; Issuer Name Nanjing      100102, China; Equity Ticker 300367 CN;                CORPORATION; a.k.a. CHINA NORTH
 Panda Electr. Co. Ltd.; alt. Issuer Name Nanjing    Issuer Name NetPosa Technologies, Ltd.; ISIN           INDUSTRIES GROUP CORPORATION
 Panda Electronic Co. Ltd; alt. Issuer Name          CNE100001S40; Effective Date (CMIC) 14 Feb             LIMITED; a.k.a. NORINCO; a.k.a. "CNIGC"),
 Nanjing Panda Electronics Company Limited;          2022; Purchase/Sales For Divestment Date               No. 46, Sanlihe Road, Xicheng District, Beijing
 ISIN CNE1000003T4; alt. ISIN CN0009003921;          (CMIC) 16 Dec 2022; Listing Date (CMIC) 16             100821, China; Issuer Name China North
 alt. ISIN CNE000000NB7; alt. ISIN                   Dec 2021; Unified Social Credit Code (USCC)            Industries Group Corporation Limited; alt. Issuer
 CN0005815195; Target Type Public Company;           91110000721497432T (China) [CMIC-                      Name China North Industries Group Co. Ltd;
 Effective Date (CMIC) 02 Aug 2021;                  EO13959].                                              ISIN CND10001PXG4; alt. ISIN
 Purchase/Sales For Divestment Date (CMIC) 03       NETPOSA TECHNOLOGIES LIMITED (a.k.a.                    CND10000KPW0; alt. ISIN CND10000KSK9;
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;          NETPOSA; a.k.a. NETPOSA TECHNOLOGIES,                  alt. ISIN CND1000133M5; Target Type Private
 Unified Social Credit Code (USCC)                   LTD.), Wangjing Soho, 2nd Tower, 26th Floor,           Company; Effective Date (CMIC) 02 Aug 2021;
 91320100134974572K (China) [CMIC-                   1, Futong Avenue, Chaoyang District, Beijing           Purchase/Sales For Divestment Date (CMIC) 03
 EO13959].                                           100102, China; Equity Ticker 300367 CN;                Jun 2022; Listing Date (CMIC) 03 Jun 2021;
NANJING PANDA ELECTRONIC CO. LTD.                    Issuer Name NetPosa Technologies, Ltd.; ISIN           Unified Social Credit Code (USCC)
 (a.k.a. NANJING PANDA; a.k.a. NANJING               CNE100001S40; Effective Date (CMIC) 14 Feb             91110000710924910P (China) [CMIC-
 PANDA ELECTR. CO. LTD.; a.k.a. NANJING              2022; Purchase/Sales For Divestment Date               EO13959].
 PANDA ELECTRONICS COMPANY LIMITED),                 (CMIC) 16 Dec 2022; Listing Date (CMIC) 16            NORTH NAVIGATION CONTROL
 7, Jingtian Road, Nanjing 210033, China; Equity     Dec 2021; Unified Social Credit Code (USCC)            TECHNOLOGY CO., LTD. (f.k.a. BEIJING
 Ticker 600775 CN; alt. Equity Ticker 00553 HK;      91110000721497432T (China) [CMIC-                      NORTH PHENIX INTELLIGENCE
 alt. Equity Ticker NNJ DE; Issuer Name Nanjing      EO13959].                                              TECHNOLOGY CO., LTD.; f.k.a. CHINA
 Panda Electr. Co. Ltd.; alt. Issuer Name Nanjing                                                           NORTH OPTICAL-ELECTRICAL


December 16, 2021                                                                                                                                            - 15 -
              Case 4:25-cv-04075-HSG                         Document 37-6                 Filed 05/28/25                  Page 17 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 TECHNOLOGY CO., LTD.), No. 2, Kechuang              Jun 2022; Listing Date (CMIC) 03 Jun 2021          a.k.a. "SMIC"), 18, Zhangjiang Road, Pudong
 15 Street, Economic Technology Development          [CMIC-EO13959] (Linked To: HUAWEI                  New Area, Shanghai 201203, China; Cayman
 Zone, Beijing, China; Equity Ticker 600435 CN;      INVESTMENT & HOLDING CO., LTD.).                   Islands; Equity Ticker 688981 CN; alt. Equity
 Issuer Name Beijing North Phenix Intelligence      PROVEN HONOUR (a.k.a. PROVEN HONOUR                 Ticker 00981 HK; alt. Equity Ticker MKN1 DE;
 Technology Co., Ltd; ISIN CNE000001F88;             CAPITAL LIMITED; a.k.a. PROVEN HONOUR              alt. Equity Ticker MKN2 DE; Issuer Name
 Target Type Public Company; Effective Date          CAPITAL LTD), C/O Vistra Corporate Services        Semiconductor Manufacturing International
 (CMIC) 02 Aug 2021; Purchase/Sales For              Centre, Wickhams Cay II, Road Town VG1110,         Corporation; alt. Issuer Name Semiconductor
 Divestment Date (CMIC) 03 Jun 2022; Listing         Virgin Islands, British; Issuer Name Proven        Manufacturing International Corporation
 Date (CMIC) 03 Jun 2021; Unified Social Credit      Honour Capital Ltd; alt. Issuer Name Proven        Limited; alt. Issuer Name Semiconductor
 Code (USCC) 911100007226144851 (China)              Honour Capital Limited; ISIN XS1233275194;         Manufacturing International Corporation Co.,
 [CMIC-EO13959].                                     alt. ISIN HK0000216777; alt. ISIN                  Ltd; ISIN KYG8020E1199; alt. ISIN
PANDA ELECTRONICS GROUP CO., LTD.                    XS1401816761; alt. ISIN HK0000111952;              XS1432320429; alt. ISIN US81663N2062; alt.
 (a.k.a. PANDA ELECTRONICS GROUP                     Target Type Private Company; Effective Date        ISIN XS2101828452; alt. ISIN KYG8020E1017;
 LIMITED), No. 301, Zhongshan East Road,             (CMIC) 02 Aug 2021; Purchase/Sales For             alt. ISIN XS1730881247; alt. ISIN
 Xuanwu District, Nanjing, Jiangsu 210002,           Divestment Date (CMIC) 03 Jun 2022; Listing        KYG802041031; alt. ISIN CNE1000041W8; alt.
 China; Target Type State-Owned Enterprise;          Date (CMIC) 03 Jun 2021 [CMIC-EO13959]             ISIN CND100022N41; Target Type Public
 Effective Date (CMIC) 02 Aug 2021;                  (Linked To: HUAWEI INVESTMENT &                    Company; Effective Date (CMIC) 02 Aug 2021;
 Purchase/Sales For Divestment Date (CMIC) 03        HOLDING CO., LTD.).                                Purchase/Sales For Divestment Date (CMIC) 03
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         PROVEN HONOUR CAPITAL LIMITED (a.k.a.               Jun 2022; Listing Date (CMIC) 03 Jun 2021
 Unified Social Credit Code (USCC)                   PROVEN HONOUR; a.k.a. PROVEN HONOUR                [CMIC-EO13959].
 913201921348831521 (China) [CMIC-                   CAPITAL LTD), C/O Vistra Corporate Services       SEMICONDUCTOR MANUFACTURING
 EO13959].                                           Centre, Wickhams Cay II, Road Town VG1110,         INTERNATIONAL CORPORATION CO., LTD
PANDA ELECTRONICS GROUP LIMITED                      Virgin Islands, British; Issuer Name Proven        (a.k.a. SEMICONDUCTOR MANUFACTURING
 (a.k.a. PANDA ELECTRONICS GROUP CO.,                Honour Capital Ltd; alt. Issuer Name Proven        INTERNATIONAL CORPORATION; a.k.a.
 LTD.), No. 301, Zhongshan East Road, Xuanwu         Honour Capital Limited; ISIN XS1233275194;         SEMICONDUCTOR MANUFACTURING
 District, Nanjing, Jiangsu 210002, China; Target    alt. ISIN HK0000216777; alt. ISIN                  INTERNATIONAL CORPORATION LIMITED;
 Type State-Owned Enterprise; Effective Date         XS1401816761; alt. ISIN HK0000111952;              a.k.a. SEMICONDUCTOR MFG INTL CORP;
 (CMIC) 02 Aug 2021; Purchase/Sales For              Target Type Private Company; Effective Date        a.k.a. "SMIC"), 18, Zhangjiang Road, Pudong
 Divestment Date (CMIC) 03 Jun 2022; Listing         (CMIC) 02 Aug 2021; Purchase/Sales For             New Area, Shanghai 201203, China; Cayman
 Date (CMIC) 03 Jun 2021; Unified Social Credit      Divestment Date (CMIC) 03 Jun 2022; Listing        Islands; Equity Ticker 688981 CN; alt. Equity
 Code (USCC) 913201921348831521 (China)              Date (CMIC) 03 Jun 2021 [CMIC-EO13959]             Ticker 00981 HK; alt. Equity Ticker MKN1 DE;
 [CMIC-EO13959].                                     (Linked To: HUAWEI INVESTMENT &                    alt. Equity Ticker MKN2 DE; Issuer Name
PROVEN GLORY (a.k.a. PROVEN GLORY                    HOLDING CO., LTD.).                                Semiconductor Manufacturing International
 CAPITAL LIMITED), 263 Main Street, Road            PROVEN HONOUR CAPITAL LTD (a.k.a.                   Corporation; alt. Issuer Name Semiconductor
 Town VG11100, Virgin Islands, British; Issuer       PROVEN HONOUR; a.k.a. PROVEN HONOUR                Manufacturing International Corporation
 Name Proven Glory Capital Limited; ISIN             CAPITAL LIMITED), C/O Vistra Corporate             Limited; alt. Issuer Name Semiconductor
 XS1809220830; alt. ISIN XS1808982398; alt.          Services Centre, Wickhams Cay II, Road Town        Manufacturing International Corporation Co.,
 ISIN XS1808982471; alt. ISIN XS1567423501;          VG1110, Virgin Islands, British; Issuer Name       Ltd; ISIN KYG8020E1199; alt. ISIN
 alt. ISIN XS1567423766; alt. ISIN                   Proven Honour Capital Ltd; alt. Issuer Name        XS1432320429; alt. ISIN US81663N2062; alt.
 XS1809220913; Target Type Private Company;          Proven Honour Capital Limited; ISIN                ISIN XS2101828452; alt. ISIN KYG8020E1017;
 Effective Date (CMIC) 02 Aug 2021;                  XS1233275194; alt. ISIN HK0000216777; alt.         alt. ISIN XS1730881247; alt. ISIN
 Purchase/Sales For Divestment Date (CMIC) 03        ISIN XS1401816761; alt. ISIN HK0000111952;         KYG802041031; alt. ISIN CNE1000041W8; alt.
 Jun 2022; Listing Date (CMIC) 03 Jun 2021           Target Type Private Company; Effective Date        ISIN CND100022N41; Target Type Public
 [CMIC-EO13959] (Linked To: HUAWEI                   (CMIC) 02 Aug 2021; Purchase/Sales For             Company; Effective Date (CMIC) 02 Aug 2021;
 INVESTMENT & HOLDING CO., LTD.).                    Divestment Date (CMIC) 03 Jun 2022; Listing        Purchase/Sales For Divestment Date (CMIC) 03
PROVEN GLORY CAPITAL LIMITED (a.k.a.                 Date (CMIC) 03 Jun 2021 [CMIC-EO13959]             Jun 2022; Listing Date (CMIC) 03 Jun 2021
 PROVEN GLORY), 263 Main Street, Road                (Linked To: HUAWEI INVESTMENT &                    [CMIC-EO13959].
 Town VG11100, Virgin Islands, British; Issuer       HOLDING CO., LTD.).                               SEMICONDUCTOR MANUFACTURING
 Name Proven Glory Capital Limited; ISIN            SEMICONDUCTOR MANUFACTURING                         INTERNATIONAL CORPORATION LIMITED
 XS1809220830; alt. ISIN XS1808982398; alt.          INTERNATIONAL CORPORATION (a.k.a.                  (a.k.a. SEMICONDUCTOR MANUFACTURING
 ISIN XS1808982471; alt. ISIN XS1567423501;          SEMICONDUCTOR MANUFACTURING                        INTERNATIONAL CORPORATION; a.k.a.
 alt. ISIN XS1567423766; alt. ISIN                   INTERNATIONAL CORPORATION CO., LTD;                SEMICONDUCTOR MANUFACTURING
 XS1809220913; Target Type Private Company;          a.k.a. SEMICONDUCTOR MANUFACTURING                 INTERNATIONAL CORPORATION CO., LTD;
 Effective Date (CMIC) 02 Aug 2021;                  INTERNATIONAL CORPORATION LIMITED;                 a.k.a. SEMICONDUCTOR MFG INTL CORP;
 Purchase/Sales For Divestment Date (CMIC) 03        a.k.a. SEMICONDUCTOR MFG INTL CORP;                a.k.a. "SMIC"), 18, Zhangjiang Road, Pudong


December 16, 2021                                                                                                                                        - 16 -
              Case 4:25-cv-04075-HSG                       Document 37-6                 Filed 05/28/25                   Page 18 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                   Non-SDN Chinese Military-Industrial Complex Companies List




 New Area, Shanghai 201203, China; Cayman         C.R. No. 2162198 (Hong Kong) [CMIC-                  518057, China; Effective Date (CMIC) 14 Feb
 Islands; Equity Ticker 688981 CN; alt. Equity    EO13959].                                            2022; Purchase/Sales For Divestment Date
 Ticker 00981 HK; alt. Equity Ticker MKN1 DE;    SENSETIME GROUP LTD (a.k.a. SENSETIME                 (CMIC) 16 Dec 2022; Listing Date (CMIC) 16
 alt. Equity Ticker MKN2 DE; Issuer Name          GROUP LIMITED (Chinese Traditional:                  Dec 2021; Unified Social Credit Code (USCC)
 Semiconductor Manufacturing International        商湯集團有限公司)), Block 1, 1F & 2F Harbour                 914403007954257495 (China) [CMIC-
 Corporation; alt. Issuer Name Semiconductor      View, 12 Science Park, West Avenue, Hong             EO13959].
 Manufacturing International Corporation          Kong New Territories, Hong Kong SAR, China;         TONTEC TECHNOLOGY INVESTMENT
 Limited; alt. Issuer Name Semiconductor          Effective Date (CMIC) 08 Feb 2022;                   GROUP COMPANY LIMITED (a.k.a. AVIC
 Manufacturing International Corporation Co.,     Purchase/Sales For Divestment Date (CMIC) 10         AVIATION HIGH-TECHNOLOGY CO., LTD.;
 Ltd; ISIN KYG8020E1199; alt. ISIN                Dec 2022; Listing Date (CMIC) 10 Dec 2021;           a.k.a. AVIC AVIATION HIGH-TECHNOLOGY
 XS1432320429; alt. ISIN US81663N2062; alt.       C.R. No. 2162198 (Hong Kong) [CMIC-                  COMPANY LIMITED; a.k.a. AVIC HI-TECH), 1,
 ISIN XS2101828452; alt. ISIN KYG8020E1017;       EO13959].                                            Yonghe Road, Gangzha District, Nantong
 alt. ISIN XS1730881247; alt. ISIN               SHAANXI ZHONGTIAN ROCKET                              226011, China; Equity Ticker 600862 CN;
 KYG802041031; alt. ISIN CNE1000041W8; alt.       TECHNOLOGY CO., LTD (a.k.a. SHAANXI                  Issuer Name Tonmac International Co., Ltd.;
 ISIN CND100022N41; Target Type Public            ZHONGTIAN ROCKET TECHNOLOGY                          ISIN CNE000000GZ0; Effective Date (CMIC) 02
 Company; Effective Date (CMIC) 02 Aug 2021;      COMPANY LIMITED), Xi'an, China; Equity               Aug 2021; Purchase/Sales For Divestment Date
 Purchase/Sales For Divestment Date (CMIC) 03     Ticker 003009 CN; Issuer Name Shaanxi                (CMIC) 03 Jun 2022; Listing Date (CMIC) 03
 Jun 2022; Listing Date (CMIC) 03 Jun 2021        Zhongtian Rocket Technology Co., Ltd; ISIN           Jun 2021; Unified Social Credit Code (USCC)
 [CMIC-EO13959].                                  CNE1000046W7; Target Type Public Company;            91320600138299578A (China) [CMIC-
SEMICONDUCTOR MFG INTL CORP (a.k.a.               Effective Date (CMIC) 02 Aug 2021;                   EO13959].
 SEMICONDUCTOR MANUFACTURING                      Purchase/Sales For Divestment Date (CMIC) 03        TORCH ELECTRON (a.k.a. FUJIAN TORCH
 INTERNATIONAL CORPORATION; a.k.a.                Jun 2022; Listing Date (CMIC) 03 Jun 2021;           ELECTRON TECHNOLOGY CO., LTD.), Hi-
 SEMICONDUCTOR MANUFACTURING                      Unified Social Credit Code (USCC)                    Tech Industrial Park, Jiangnan Park, 4, Zihua
 INTERNATIONAL CORPORATION CO., LTD;              91610000741252408P (China) [CMIC-                    Road, Licheng district, Quanzhou 362000,
 a.k.a. SEMICONDUCTOR MANUFACTURING               EO13959].                                            China; Equity Ticker 603678 CN; Issuer Name
 INTERNATIONAL CORPORATION LIMITED;              SHAANXI ZHONGTIAN ROCKET                              Fujian Torch Electron Technology Co., Ltd; ISIN
 a.k.a. "SMIC"), 18, Zhangjiang Road, Pudong      TECHNOLOGY COMPANY LIMITED (a.k.a.                   CNE100001TY3; Target Type Public Company;
 New Area, Shanghai 201203, China; Cayman         SHAANXI ZHONGTIAN ROCKET                             Effective Date (CMIC) 02 Aug 2021;
 Islands; Equity Ticker 688981 CN; alt. Equity    TECHNOLOGY CO., LTD), Xi'an, China; Equity           Purchase/Sales For Divestment Date (CMIC) 03
 Ticker 00981 HK; alt. Equity Ticker MKN1 DE;     Ticker 003009 CN; Issuer Name Shaanxi                Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 alt. Equity Ticker MKN2 DE; Issuer Name          Zhongtian Rocket Technology Co., Ltd; ISIN           Unified Social Credit Code (USCC)
 Semiconductor Manufacturing International        CNE1000046W7; Target Type Public Company;            913500001562023628 (China) [CMIC-
 Corporation; alt. Issuer Name Semiconductor      Effective Date (CMIC) 02 Aug 2021;                   EO13959].
 Manufacturing International Corporation          Purchase/Sales For Divestment Date (CMIC) 03        XIAMEN MEIYA PICO INFORMATION CO.,
 Limited; alt. Issuer Name Semiconductor          Jun 2022; Listing Date (CMIC) 03 Jun 2021;           LTD., 2nd Phase of Xiamen Software Park,
 Manufacturing International Corporation Co.,     Unified Social Credit Code (USCC)                    Meiya Pico Building, 12 Guanri Road, Xiamen
 Ltd; ISIN KYG8020E1199; alt. ISIN                91610000741252408P (China) [CMIC-                    361008, China; Equity Ticker 300188 CN;
 XS1432320429; alt. ISIN US81663N2062; alt.       EO13959].                                            Issuer Name Xiamen Meiya Pico Information
 ISIN XS2101828452; alt. ISIN KYG8020E1017;      SHENYANG AIRCRAFT CO. LTD. (a.k.a. AVIC               Co., Ltd.; ISIN CNE100001120; Effective Date
 alt. ISIN XS1730881247; alt. ISIN                SHENYANG AIRCRAFT COMPANY LIMITED;                   (CMIC) 14 Feb 2022; Purchase/Sales For
 KYG802041031; alt. ISIN CNE1000041W8; alt.       f.k.a. DONGAN HEIBAO CO., LTD.), 1, Lingbei          Divestment Date (CMIC) 16 Dec 2022; Listing
 ISIN CND100022N41; Target Type Public            Street, Huanggu District, Shenyang 110850,           Date (CMIC) 16 Dec 2021; Unified Social Credit
 Company; Effective Date (CMIC) 02 Aug 2021;      China; Equity Ticker 600760 CN; Issuer Name          Code (USCC) 91350200705420347R (China)
 Purchase/Sales For Divestment Date (CMIC) 03     Dongan Heibao Co. Ltd.; ISIN CNE000000MH6;           [CMIC-EO13959].
 Jun 2022; Listing Date (CMIC) 03 Jun 2021        Target Type Public Company; Effective Date          XI'AN AIRCRAFT INDUSTRIAL CORP. (a.k.a.
 [CMIC-EO13959].                                  (CMIC) 02 Aug 2021; Purchase/Sales For               AVIC AIRCRAFT CO., LTD.; a.k.a. AVIC XIAN
SENSETIME GROUP LIMITED (Chinese                  Divestment Date (CMIC) 03 Jun 2022; Listing          AIRCRAFT INDUSTRY GROUP CO LTD; a.k.a.
 Traditional: 商湯集團有限公司) (a.k.a.                   Date (CMIC) 03 Jun 2021; Unified Social Credit       AVIC XI'AN AIRCRAFT INDUSTRY GROUP
 SENSETIME GROUP LTD), Block 1, 1F & 2F           Code (USCC) 9137000016309489X2 (China)               COMPANY LTD.; a.k.a. XI'AN AIRCRAFT
 Harbour View, 12 Science Park, West Avenue,      [CMIC-EO13959].                                      INDUSTRY GROUP CO LTD), No. 1, Xifei
 Hong Kong New Territories, Hong Kong SAR,       SZ DJI TECHNOLOGY CO., LTD. (Chinese                  Avenue, Yanliang District, Xi'an, Shaanxi,
 China; Effective Date (CMIC) 08 Feb 2022;        Simplified: 深圳市大疆创新科技有限公司), 14 F,                    China; Equity Ticker 000768 CN; Issuer Name
 Purchase/Sales For Divestment Date (CMIC) 10     West Block of Skyworth Semiconductor Design          AVIC Aircraft Co., Ltd.; ISIN CNE000000RF9;
 Dec 2022; Listing Date (CMIC) 10 Dec 2021;       Building, No. 18 Gaoxin South 4th Road,              Target Type Public Company; Effective Date
                                                  Nanshan District, Shenzhen, Guangdong                (CMIC) 02 Aug 2021; Purchase/Sales For


December 16, 2021                                                                                                                                       - 17 -
              Case 4:25-cv-04075-HSG                        Document 37-6                 Filed 05/28/25                   Page 19 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 Divestment Date (CMIC) 03 Jun 2022; Listing       a.k.a. ZEMIC; a.k.a. ZHONGHANG                      "CALT" (a.k.a. CHINA ACADEMY OF LAUNCH
 Date (CMIC) 03 Jun 2021; Unified Social Credit    ELECTRONIC MEASURING INSTRUMENTS                     VEHICLE TECHNOLOGY), 1 Nandahongmen
 Code (USCC) 916100002942059830 (China)            COMPANY LIMITED), High-Tech Industrial               Road Fengtai District, Beijing 100076, China;
 [CMIC-EO13959].                                   Development Zone, 166, West Avenue, Xi'an            No. 1, South Dahongmen Road, Fengtai
XI'AN AIRCRAFT INDUSTRY GROUP CO LTD               710119, China; Equity Ticker 300114 CN;              District, Beijing 100076, China; Target Type
 (a.k.a. AVIC AIRCRAFT CO., LTD.; a.k.a. AVIC      Issuer Name Zhonghang Electronic Measuring           State-Owned Enterprise; Effective Date (CMIC)
 XIAN AIRCRAFT INDUSTRY GROUP CO LTD;              Instruments Co., Ltd; ISIN CNE100000T08;             02 Aug 2021; Purchase/Sales For Divestment
 a.k.a. AVIC XI'AN AIRCRAFT INDUSTRY               Effective Date (CMIC) 02 Aug 2021;                   Date (CMIC) 03 Jun 2022; Listing Date (CMIC)
 GROUP COMPANY LTD.; a.k.a. XI'AN                  Purchase/Sales For Divestment Date (CMIC) 03         03 Jun 2021; Business Registration Number
 AIRCRAFT INDUSTRIAL CORP.), No. 1, Xifei          Jun 2022; Listing Date (CMIC) 03 Jun 2021;           100000108000042 (China) [CMIC-EO13959].
 Avenue, Yanliang District, Xi'an, Shaanxi,        Unified Social Credit Code (USCC)                   "CASC" (a.k.a. CHINA AEROSPACE SCIENCE
 China; Equity Ticker 000768 CN; Issuer Name       91610000745016111K (China) [CMIC-                    AND TECHNOLOGY CORPORATION), No. 8,
 AVIC Aircraft Co., Ltd.; ISIN CNE000000RF9;       EO13959].                                            Fucheng Road, Haidian District, Beijing 100048,
 Target Type Public Company; Effective Date       ZHONGHANG ELECTRONIC MEASURING                        China; Issuer Name China Aerospace Science
 (CMIC) 02 Aug 2021; Purchase/Sales For            INSTRUMENTS COMPANY LIMITED (a.k.a.                  and Technology Corporation; ISIN
 Divestment Date (CMIC) 03 Jun 2022; Listing       AVIC ZEMIC; a.k.a. ZEMIC; a.k.a.                     CND1000090Q8; alt. ISIN CND100006HP7;
 Date (CMIC) 03 Jun 2021; Unified Social Credit    ZHONGHANG ELECTRONIC MEASURING                       Target Type State-Owned Enterprise; Effective
 Code (USCC) 916100002942059830 (China)            INSTRUMENTS CO., LTD), High-Tech                     Date (CMIC) 02 Aug 2021; Purchase/Sales For
 [CMIC-EO13959].                                   Industrial Development Zone, 166, West               Divestment Date (CMIC) 03 Jun 2022; Listing
YITU LIMITED (Chinese Simplified:                  Avenue, Xi'an 710119, China; Equity Ticker           Date (CMIC) 03 Jun 2021; Unified Social Credit
 依图科技有限公司), Suite #4-210, Governors                300114 CN; Issuer Name Zhonghang Electronic          Code (USCC) 91110000100014071Q (China)
 Square, 23 Lime Tree Bay Avenue, PO Box           Measuring Instruments Co., Ltd; ISIN                 [CMIC-EO13959].
 23211, Grand Cayman KY1-1209, Cayman              CNE100000T08; Effective Date (CMIC) 02 Aug          "CATEC" (a.k.a. CHINA AEROSPACE TIMES
 Islands; Effective Date (CMIC) 14 Feb 2022;       2021; Purchase/Sales For Divestment Date             ELECTRONICS CO., LTD; f.k.a. LONG
 Purchase/Sales For Divestment Date (CMIC) 16      (CMIC) 03 Jun 2022; Listing Date (CMIC) 03           MARCH LAUNCH VEHICLE TECHNOLOGY
 Dec 2022; Listing Date (CMIC) 16 Dec 2021         Jun 2021; Unified Social Credit Code (USCC)          COMPANY LIMITED), High-Technology
 [CMIC-EO13959].                                   91610000745016111K (China) [CMIC-                    Industrial Zone, Economic & Technological
ZEMIC (a.k.a. AVIC ZEMIC; a.k.a. ZHONGHANG         EO13959].                                            Development Zone, Wuhan 430056, China;
 ELECTRONIC MEASURING INSTRUMENTS                 "AECC" (a.k.a. AERO ENGINE CORP OF                    Equity Ticker 600879 CN; Issuer Name China
 CO., LTD; a.k.a. ZHONGHANG ELECTRONIC             CHINA; a.k.a. AERO ENGINE CORPORATION                Aerospace Times Electronics Co., Ltd; ISIN
 MEASURING INSTRUMENTS COMPANY                     OF CHINA; a.k.a. CHINA AVIATION ENGINE               CNE000000J93; alt. ISIN CND10003B821; alt.
 LIMITED), High-Tech Industrial Development        GROUP CO., LTD), 5 Landianchang South                ISIN CND100034J27; alt. ISIN CND100037514;
 Zone, 166, West Avenue, Xi'an 710119, China;      Road Haidian District, Beijing 100097, China;        alt. ISIN CND100032457; alt. ISIN
 Equity Ticker 300114 CN; Issuer Name              Target Type State-Owned Enterprise; Effective        CND10002R795; alt. ISIN CND10003D843; alt.
 Zhonghang Electronic Measuring Instruments        Date (CMIC) 02 Aug 2021; Purchase/Sales For          ISIN CND100035G37; alt. ISIN
 Co., Ltd; ISIN CNE100000T08; Effective Date       Divestment Date (CMIC) 03 Jun 2022; Listing          CND100037S23; alt. ISIN CND10002B3Q3; alt.
 (CMIC) 02 Aug 2021; Purchase/Sales For            Date (CMIC) 03 Jun 2021; Unified Social Credit       ISIN CND10002T6Q6; alt. ISIN
 Divestment Date (CMIC) 03 Jun 2022; Listing       Code (USCC) 91110000MA005UCQ5P (China)               CND100044B23; Target Type Public Company;
 Date (CMIC) 03 Jun 2021; Unified Social Credit    [CMIC-EO13959].                                      Effective Date (CMIC) 02 Aug 2021;
 Code (USCC) 91610000745016111K (China)           "AVIC" (a.k.a. AVIATION INDUSTRY CORP OF              Purchase/Sales For Divestment Date (CMIC) 03
 [CMIC-EO13959].                                   CHINA; a.k.a. AVIATION INDUSTRY                      Jun 2022; Listing Date (CMIC) 03 Jun 2021;
ZHEJIANG NANYANG TECHNOLOGY                        CORPORATION OF CHINA, LTD.; a.k.a.                   Unified Social Credit Code (USCC)
 COMPANY LIMITED (a.k.a. AEROSPACE CH              AVIATION INDUSTRY OF CHINA), Building 19             91420100177716821Q (China) [CMIC-
 UAV CO., LTD), Development Zone, 388, Kai         Compound A5 Shuguang Xili Chaoyang District,         EO13959].
 Fa Avenue, Taizhou 318000, China; Equity          Beijing 100028, China; Issuer Name Aviation         "CCCC" (a.k.a. CHINA COMMUNICATIONS
 Ticker 002389 CN; Issuer Name Aerospace CH        Industry Corporation of China, Ltd; ISIN             CONSTR CO LTD; a.k.a. CHINA
 UAV Co Ltd; ISIN CNE100000N20; Target Type        CND10001WSL0; alt. ISIN CND10002HNP1;                COMMUNICATIONS CONSTRUCTION CO
 Public Company; Effective Date (CMIC) 02 Aug      alt. ISIN CND10002DPC3; Target Type State-           LTD; a.k.a. CHINA COMMUNICATIONS
 2021; Purchase/Sales For Divestment Date          Owned Enterprise; Effective Date (CMIC) 02           CONSTRUCTION COMPANY LIMITED; a.k.a.
 (CMIC) 03 Jun 2022; Listing Date (CMIC) 03        Aug 2021; Purchase/Sales For Divestment Date         CHINA COMMUNICATIONS CONSTRUCTION
 Jun 2021; Unified Social Credit Code (USCC)       (CMIC) 03 Jun 2022; Listing Date (CMIC) 03           COMPANY LTD), 85, Deshengmen Street,
 91330000734507783B (China) [CMIC-                 Jun 2021; Unified Social Credit Code (USCC)          Xicheng District, Beijing 100088, China; Equity
 EO13959].                                         91110000710935732K (China) [CMIC-                    Ticker 601800 CN; alt. Equity Ticker 01800 HK;
ZHONGHANG ELECTRONIC MEASURING                     EO13959].                                            alt. Equity Ticker CYY DE; Issuer Name China
 INSTRUMENTS CO., LTD (a.k.a. AVIC ZEMIC;                                                               Communications Construction Co. Ltd; alt.


December 16, 2021                                                                                                                                        - 18 -
              Case 4:25-cv-04075-HSG                         Document 37-6                  Filed 05/28/25                   Page 20 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                      Non-SDN Chinese Military-Industrial Complex Companies List




 Issuer Name China Communications                   Aug 2021; Purchase/Sales For Divestment Date          China Nuclear Engineering Corporation Limited;
 Construction Company Limited; alt. Issuer          (CMIC) 03 Jun 2022; Listing Date (CMIC) 03            ISIN CNE100002896; alt. ISIN CND10003XJ14;
 Name China Communications Construction             Jun 2021; Legal Entity Number                         Target Type Public Company; Effective Date
 Company Ltd; alt. Issuer Name China                300300PV91RY9GH3CT16; Unified Social                  (CMIC) 02 Aug 2021; Purchase/Sales For
 Communications Constr Co Ltd; ISIN                 Credit Code (USCC) 91110000100010249W                 Divestment Date (CMIC) 03 Jun 2022; Listing
 CND10000GBD8; alt. ISIN CND10001TD67; alt.         (China) [CMIC-EO13959] (Linked To: NANJING            Date (CMIC) 03 Jun 2021; Unified Social Credit
 ISIN CND10002GB63; alt. ISIN                       PANDA ELECTRONICS COMPANY LIMITED).                   Code (USCC) 91110000717828569P (China)
 CND10001TD75; alt. ISIN US1689261030; alt.        "CETC" (a.k.a. CHINA ELECTRONICS                       [CMIC-EO13959].
 ISIN CND10002G6P3; alt. ISIN                       TECHNOLOGY GROUP CORPORATION), No.                   "CNECC" (a.k.a. CHINA NATIONAL
 CND10003TZ93; alt. ISIN CND100017CS9; alt.         27, Wanshou Road, Haidian District, Beijing           ENGINEERING & CONSTRUCTION
 ISIN CND10001TD59; alt. ISIN                       100846, China; Target Type State-Owned                CORPORATION LIMITED; a.k.a. CHINA
 CND10002K094; alt. ISIN CND10002H1Z2; alt.         Enterprise; Effective Date (CMIC) 02 Aug 2021;        NUCLEAR ENGINEERING & CONSTRUCTION
 ISIN CND10003R421; alt. ISIN                       Purchase/Sales For Divestment Date (CMIC) 03          CORP LTD; a.k.a. CHINA NUCLEAR
 CND10002KKV9; alt. ISIN CND10002DZZ3; alt.         Jun 2022; Listing Date (CMIC) 03 Jun 2021;            ENGINEERING CORPORATION LIMITED;
 ISIN CND10003KT58; alt. ISIN                       Unified Social Credit Code (USCC)                     a.k.a. "CNEC"), No. 12 Chegongzhuang
 CND100043Z00; alt. ISIN CNE1000002F5; alt.         91110000710929498G (China) [CMIC-                     Avenue, Xicheng District, Beijing 100037,
 ISIN CND10002G601; alt. ISIN                       EO13959].                                             China; Equity Ticker 601611 CN; Issuer Name
 CND10002GB71; alt. ISIN CNE100001FN5;             "CGN" (a.k.a. CHINA GENERAL NUCLEAR                    China Nuclear Engineering Corporation Limited;
 Target Type Public Company; Effective Date         POWER CORP; a.k.a. CHINA GENERAL                      ISIN CNE100002896; alt. ISIN CND10003XJ14;
 (CMIC) 02 Aug 2021; Purchase/Sales For             NUCLEAR POWER CORPORATION), 33F,                      Target Type Public Company; Effective Date
 Divestment Date (CMIC) 03 Jun 2022; Listing        South Building, China General Nuclear Building,       (CMIC) 02 Aug 2021; Purchase/Sales For
 Date (CMIC) 03 Jun 2021; Unified Social Credit     No. 2002 Shennan Avenue, Futian District,             Divestment Date (CMIC) 03 Jun 2022; Listing
 Code (USCC) 91110000710934369E (China)             Shenzhen, Guangdong, China; Issuer Name               Date (CMIC) 03 Jun 2021; Unified Social Credit
 [CMIC-EO13959].                                    China General Nuclear Power Corporation; ISIN         Code (USCC) 91110000717828569P (China)
"CCCG" (a.k.a. CHINA COMMUNICATIONS                 CND10003XXN0; alt. ISIN CND1000248C2; alt.            [CMIC-EO13959].
 CONSTRUCTION GROUP (LIMITED); a.k.a.               ISIN CND10003GZY7; alt. ISIN                         "CNIGC" (a.k.a. CHINA NORTH INDUSTRIES
 CHINA COMMUNICATIONS CONSTRUCTION                  CND1000363K2; Target Type Private                     GROUP CO. LTD; a.k.a. CHINA NORTH
 GROUP (LTD); a.k.a. CHINA                          Company; Effective Date (CMIC) 02 Aug 2021;           INDUSTRIES GROUP CORPORATION; a.k.a.
 COMMUNICATIONS GROUP CO. LTD; a.k.a.               Purchase/Sales For Divestment Date (CMIC) 03          CHINA NORTH INDUSTRIES GROUP
 CHINA COMMUNICATIONS GROUP                         Jun 2022; Listing Date (CMIC) 03 Jun 2021;            CORPORATION LIMITED; a.k.a. NORINCO;
 COMPANY LIMITED), No. 85, Deshengmen               Unified Social Credit Code (USCC)                     a.k.a. NORINCO GROUP), No. 46, Sanlihe
 Outer Street, Xicheng District, Beijing 100088,    9144030010001694XX (China) [CMIC-                     Road, Xicheng District, Beijing 100821, China;
 China; Issuer Name China Communications            EO13959].                                             Issuer Name China North Industries Group
 Group Co. Ltd; alt. Issuer Name China             "CLOUDWALK" (a.k.a. CLOUDWALK                          Corporation Limited; alt. Issuer Name China
 Communications Construction Group (Ltd.); alt.     TECHNOLOGY CO., LTD. (Chinese Simplified:             North Industries Group Co. Ltd; ISIN
 Issuer Name China Communications Group             云从科技集团股份有限公司)), Room 501, No.                         CND10001PXG4; alt. ISIN CND10000KPW0;
 Company Limited; ISIN CND10003RDS3; alt.           37, Jinlong Road, Nansha District, Guangzhou,         alt. ISIN CND10000KSK9; alt. ISIN
 ISIN CND100041XX5; alt. ISIN                       Guangdong 511457, China; Building 11,                 CND1000133M5; Target Type Private
 CND1000455C3; alt. ISIN CND100041XW7; alt.         Zhangjiang Artificial Intelligence Island,            Company; Effective Date (CMIC) 02 Aug 2021;
 ISIN CND1000455B5; Target Type Private             Chuanhe Road, Pudong New Area, Shanghai,              Purchase/Sales For Divestment Date (CMIC) 03
 Company; Effective Date (CMIC) 02 Aug 2021;        China; Effective Date (CMIC) 14 Feb 2022;             Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Purchase/Sales For Divestment Date (CMIC) 03       Purchase/Sales For Divestment Date (CMIC) 16          Unified Social Credit Code (USCC)
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;         Dec 2022; Listing Date (CMIC) 16 Dec 2021;            91110000710924910P (China) [CMIC-
 Unified Social Credit Code (USCC)                  Unified Social Credit Code (USCC)                     EO13959].
 91110000710933809D (China) [CMIC-                  914401153314442716 (China) [CMIC-                    "CNNC" (a.k.a. CHINA NATIONAL NUCLEAR
 EO13959] (Linked To: CHINA                         EO13959].                                             CORP; a.k.a. CHINA NATIONAL NUCLEAR
 COMMUNICATIONS CONSTRUCTION                       "CNEC" (a.k.a. CHINA NATIONAL                          CORPORATION), No. 1, Nansan Lane,
 COMPANY LIMITED).                                  ENGINEERING & CONSTRUCTION                            Sanlihe, Xicheng District, Beijing 100822,
"CEC" (a.k.a. CHINA ELECTRONICS                     CORPORATION LIMITED; a.k.a. CHINA                     China; Issuer Name China National Nuclear
 CORPORATION), 19F, Building 1, No. 66A,            NUCLEAR ENGINEERING & CONSTRUCTION                    Corporation; ISIN CND10000KRQ8; alt. ISIN
 Zhongguancun East Road, Haidian District,          CORP LTD; a.k.a. CHINA NUCLEAR                        CND100005B38; alt. ISIN CND10002J9T6; alt.
 Beijing 100190, China; Issuer Name China           ENGINEERING CORPORATION LIMITED;                      ISIN CND100027TJ1; alt. ISIN
 Electronics Corporation; ISIN CND10000KG49;        a.k.a. "CNECC"), No. 12 Chegongzhuang                 CND10002DLF5; alt. ISIN CND10003RXC5; alt.
 alt. ISIN CND10002F8S4; Target Type State-         Avenue, Xicheng District, Beijing 100037,             ISIN CND10002J9V2; alt. ISIN
 Owned Enterprise; Effective Date (CMIC) 02         China; Equity Ticker 601611 CN; Issuer Name           CND100005B20; alt. ISIN CND100025BB0; alt.


December 16, 2021                                                                                                                                          - 19 -
              Case 4:25-cv-04075-HSG                        Document 37-6                 Filed 05/28/25                   Page 21 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                                    Non-SDN Chinese Military-Industrial Complex Companies List




 ISIN CND10003VCD9; alt. ISIN                      alt. ISIN CND10000GGD7; alt. ISIN                     alt. ISIN CND10001TRP9; alt. ISIN
 CND10003RXB7; alt. ISIN CND10001ZPR6;             CND10000KTD2; alt. ISIN CND10000K5W7;                 CND10001TRQ7; Target Type Private
 Target Type Private Company; Effective Date       alt. ISIN CND10001TRP9; alt. ISIN                     Company; Effective Date (CMIC) 02 Aug 2021;
 (CMIC) 02 Aug 2021; Purchase/Sales For            CND10001TRQ7; Target Type Private                     Purchase/Sales For Divestment Date (CMIC) 03
 Divestment Date (CMIC) 03 Jun 2022; Listing       Company; Effective Date (CMIC) 02 Aug 2021;           Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Date (CMIC) 03 Jun 2021; Unified Social Credit    Purchase/Sales For Divestment Date (CMIC) 03          Unified Social Credit Code (USCC)
 Code (USCC) 91110000100009563N (China)            Jun 2022; Listing Date (CMIC) 03 Jun 2021;            91110000710924929L (China) [CMIC-
 [CMIC-EO13959].                                   Unified Social Credit Code (USCC)                     EO13959].
"CRCC" (a.k.a. CHINA RAILWAY                       91110000710924929L (China) [CMIC-                   "CSSC" (a.k.a. CHINA SHIPBUILDING
 CONSTRUCTION CORPORATION LIMITED),                EO13959].                                             CORPORATION; a.k.a. CHINA STATE
 East Yard No. 40, Fuxing Road, Haidian           "CSICL" (a.k.a. CHINA SHIPBUILDING                     SHIPBUILDING CORPORATION; a.k.a. CHINA
 District, Beijing 100855, China; Equity Ticker    INDUSTRY CO LTD; a.k.a. CHINA                         STATE SHIPBUILDING CORPORATION CO.
 601186 CN; alt. Equity Ticker 1186 HK; Issuer     SHIPBUILDING INDUSTRY COMPANY                         LTD; a.k.a. CHINA STATE SHIPBUILDING
 Name China Railway Construction Corporation       LIMITED), 72 Kunminghu South Road, Haidian            CORPORATION LIMITED; a.k.a. "CSC"), No. 1,
 Limited; ISIN CNE1000009T1; Target Type           District, Beijing 100097, China; Equity Ticker        Pudong Avenue, Pilot Free Trade Zone,
 Public Company; Effective Date (CMIC) 02 Aug      601989 CN; Issuer Name CHINA                          Pudong New District, Shanghai 200135, China;
 2021; Purchase/Sales For Divestment Date          SHIPBUILDING INDUSTRY COMPANY                         Issuer Name China State Shipbuilding
 (CMIC) 03 Jun 2022; Listing Date (CMIC) 03        LIMITED; ISIN CNE100000J75; Target Type               Corporation; alt. Issuer Name China State
 Jun 2021; Unified Social Credit Code (USCC)       Public Company; Effective Date (CMIC) 02 Aug          Shipbuilding Corporation Co. Ltd; ISIN
 91110000710935150D (China) [CMIC-                 2021; Purchase/Sales For Divestment Date              CND100005C60; alt. ISIN CND10000KTB6; alt.
 EO13959].                                         (CMIC) 03 Jun 2022; Listing Date (CMIC) 03            ISIN CND10000KT93; alt. ISIN
"CSC" (a.k.a. CHINA SHIPBUILDING                   Jun 2021; Unified Social Credit Code (USCC)           CND100005MX3; alt. ISIN CND100005MX3;
 CORPORATION; a.k.a. CHINA STATE                   91110000710935329H (China) [CMIC-                     alt. ISIN CND10000LD58; alt. ISIN
 SHIPBUILDING CORPORATION; a.k.a. CHINA            EO13959].                                             CND10000LLH8; Target Type Private
 STATE SHIPBUILDING CORPORATION CO.               "CSICP" (a.k.a. CHINA SHIPBUILDING                     Company; Effective Date (CMIC) 02 Aug 2021;
 LTD; a.k.a. CHINA STATE SHIPBUILDING              INDUSTRY GROUP POWER; a.k.a. CHINA                    Purchase/Sales For Divestment Date (CMIC) 03
 CORPORATION LIMITED; a.k.a. "CSSC"), No.          SHIPBUILDING INDUSTRY GROUP POWER                     Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 1, Pudong Avenue, Pilot Free Trade Zone,          CO LTD; a.k.a. CHINA SHIPBUILDING                     Unified Social Credit Code (USCC)
 Pudong New District, Shanghai 200135, China;      INDUSTRY GROUP POWER COMPANY                          91310000710924478P (China) [CMIC-
 Issuer Name China State Shipbuilding              LIMITED; a.k.a. CSIC POWER; f.k.a.                    EO13959].
 Corporation; alt. Issuer Name China State         FENGFAN CO., LTD.), 72, Kunminghu South             "HDAA" (a.k.a. JIANGXI HONGDU AVIATION
 Shipbuilding Corporation Co. Ltd; ISIN            Road, Haidian District, Beijing 100097, China;        INDUSTRY CO., LTD.), P.O. Box 5001-500,
 CND100005C60; alt. ISIN CND10000KTB6; alt.        Equity Ticker 600482 CN; Issuer Name China            Nanchang 330024, China; Xinxi Bridge Road
 ISIN CND10000KT93; alt. ISIN                      Shipbuilding Industry Group Power; ISIN               Qingyunpu District, Nanchang 330024, China;
 CND100005MX3; alt. ISIN CND100005MX3;             CNE000001KB1; Target Type Public Company;             Equity Ticker 600316 CN; Issuer Name Jiangxi
 alt. ISIN CND10000LD58; alt. ISIN                 Effective Date (CMIC) 02 Aug 2021;                    Hongdu Aviation Industry Co., Ltd.; ISIN
 CND10000LLH8; Target Type Private                 Purchase/Sales For Divestment Date (CMIC) 03          CNE0000015N3; alt. ISIN CND10001KJ52; alt.
 Company; Effective Date (CMIC) 02 Aug 2021;       Jun 2022; Listing Date (CMIC) 03 Jun 2021;            ISIN CND10001KHB9; Target Type Public
 Purchase/Sales For Divestment Date (CMIC) 03      Unified Social Credit Code (USCC)                     Company; Effective Date (CMIC) 02 Aug 2021;
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;        911306007109266097 (China) [CMIC-                     Purchase/Sales For Divestment Date (CMIC) 03
 Unified Social Credit Code (USCC)                 EO13959].                                             Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 91310000710924478P (China) [CMIC-                "CSIGC" (a.k.a. CHINA SOUTH INDUSTRIES                 Unified Social Credit Code (USCC)
 EO13959].                                         GROUP CO., LTD.; a.k.a. CHINA SOUTH                   91360000705515290C (China) [CMIC-
"CSGC" (a.k.a. CHINA SOUTH INDUSTRIES              INDUSTRIES GROUP CORPORATION; a.k.a.                  EO13959].
 GROUP CO., LTD.; a.k.a. CHINA SOUTH               "CSGC"), No. 46, Sanlihe Road, Xicheng              "LEON TECHNOLOGY" (a.k.a. LEON
 INDUSTRIES GROUP CORPORATION; a.k.a.              District, Beijing 100032, China; No. 10 Yard,         TECHNOLOGY CO., LTD.; a.k.a. LEON
 "CSIGC"), No. 46, Sanlihe Road, Xicheng           Chedaogou, Haidian District, Beijing 100089,          TECHNOLOGY COMPANY LIMITED), High-
 District, Beijing 100032, China; No. 10 Yard,     China; Issuer Name China South Industries             Tech Zone, Century Pacific International
 Chedaogou, Haidian District, Beijing 100089,      Group Co., Ltd.; alt. Issuer Name China South         Centre, 416, South Beijing Road, Urumqi
 China; Issuer Name China South Industries         Industries Group Corporation; ISIN                    830000, China; Equity Ticker 300603 CN;
 Group Co., Ltd.; alt. Issuer Name China South     CND10000KTG5; alt. ISIN CND10000K5V9; alt.            Issuer Name Leon Technology Co., Ltd.; ISIN
 Industries Group Corporation; ISIN                ISIN CND10000KTF7; alt. ISIN                          CNE100002Q17; Effective Date (CMIC) 14 Feb
 CND10000KTG5; alt. ISIN CND10000K5V9; alt.        CND10000GGC9; alt. ISIN CND10000K0B2;                 2022; Purchase/Sales For Divestment Date
 ISIN CND10000KTF7; alt. ISIN                      alt. ISIN CND10000GGD7; alt. ISIN                     (CMIC) 16 Dec 2022; Listing Date (CMIC) 16
 CND10000GGC9; alt. ISIN CND10000K0B2;             CND10000KTD2; alt. ISIN CND10000K5W7;                 Dec 2021; Unified Social Credit Code (USCC)


December 16, 2021                                                                                                                                        - 20 -
              Case 4:25-cv-04075-HSG                    Document 37-6                Filed 05/28/25             Page 22 of 22
OFFICE OF FOREIGN ASSETS CONTROL                                                         Non-SDN Chinese Military-Industrial Complex Companies List




 916501002999341738 (China) [CMIC-               91120000783342508F (China) [CMIC-
 EO13959].                                       EO13959].
"SACO" (a.k.a. GUIZHOU SPACE APPLIANCE          _________________________________
 CO., LTD), 7, Honghe Road, Xiaohe District,
 Guiyang 550009, China; Equity Ticker 002025    OFFICE OF FOREIGN ASSETS CONTROL
 CN; Issuer Name Guizhou Space Appliance        U.S. DEPARTMENT OF T HE TREASURY
 Co., Ltd; ISIN CNE000001KG0; alt. ISIN         1500 PENNSYLVANIA AVENUE, N.W.
 CN000A0B7NS3; Target Type Public Company;      FREEDMAN'S BANK BUILDING
 Effective Date (CMIC) 02 Aug 2021;             WASHINGTON, DC 20220
 Purchase/Sales For Divestment Date (CMIC) 03   http://www.treasury.gov/ofac
 Jun 2022; Listing Date (CMIC) 03 Jun 2021;
 Unified Social Credit Code (USCC)
 91520000730980020A (China) [CMIC-
 EO13959].
"SMIC" (a.k.a. SEMICONDUCTOR
 MANUFACTURING INTERNATIONAL
 CORPORATION; a.k.a. SEMICONDUCTOR
 MANUFACTURING INTERNATIONAL
 CORPORATION CO., LTD; a.k.a.
 SEMICONDUCTOR MANUFACTURING
 INTERNATIONAL CORPORATION LIMITED;
 a.k.a. SEMICONDUCTOR MFG INTL CORP),
 18, Zhangjiang Road, Pudong New Area,
 Shanghai 201203, China; Cayman Islands;
 Equity Ticker 688981 CN; alt. Equity Ticker
 00981 HK; alt. Equity Ticker MKN1 DE; alt.
 Equity Ticker MKN2 DE; Issuer Name
 Semiconductor Manufacturing International
 Corporation; alt. Issuer Name Semiconductor
 Manufacturing International Corporation
 Limited; alt. Issuer Name Semiconductor
 Manufacturing International Corporation Co.,
 Ltd; ISIN KYG8020E1199; alt. ISIN
 XS1432320429; alt. ISIN US81663N2062; alt.
 ISIN XS2101828452; alt. ISIN KYG8020E1017;
 alt. ISIN XS1730881247; alt. ISIN
 KYG802041031; alt. ISIN CNE1000041W8; alt.
 ISIN CND100022N41; Target Type Public
 Company; Effective Date (CMIC) 02 Aug 2021;
 Purchase/Sales For Divestment Date (CMIC) 03
 Jun 2022; Listing Date (CMIC) 03 Jun 2021
 [CMIC-EO13959].
"SUGON" (a.k.a. DAWNING INFORMATION
 INDUSTRY CO., LTD (Chinese Simplified:
 曙光信息产业股份有限公司)), Zhongguancun
 Software Park, Sugon Building 36, 8,
 Dongbeiwang West Road, Haidian District,
 Beijing 100193, China; Equity Ticker
 603019CN; Issuer Name Sugon Information
 Industry Co., Ltd.; ISIN CNE100001TW7;
 Effective Date (CMIC) 14 Feb 2022;
 Purchase/Sales For Divestment Date (CMIC) 16
 Dec 2022; Listing Date (CMIC) 16 Dec 2021;
 Unified Social Credit Code (USCC)




December 16, 2021                                                                                                                             - 21 -
